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    Creation Date          TYPE
                                   Document
                                      Category
                                               15-2  Filed 02/16/18
                                                 Subscriber
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                                                               Created By

                                                           SUB
                        System Text                                                              UserText



                          .


 01/11/2006 12:29:18   Restore SUB                         CTN              7421   30158 - IVR - API ID
                        System Text                                                              UserText
Subscriber Restored effective 01/11/2006. Reason: Contract
Acceptance.




 01/11/2006 12:29:17   Contract Accepted                   SUB              7421   30158 - IVR - API ID
                        System Text                                                              UserText
Commitment Term: 24, Terms and Conditions status was
changed from Physical Signature to IVR Accepted




 01/11/2006 12:29:17   CONTRACT ACCEPTED                   SUB              7421   30158 - IVR - API ID
                        System Text                                                              UserText
CA1R IVR RESTORE CODE - CONTRACT ACCEPTED                        IVR - CONTRACT ACCEPTED . THE WORKING USER ID IS :IVR




 01/11/2006 12:28:51   Service Sum Email                   CSM              7421   30191 - CINGULAR SERVICE SUMMARY - CAM
                        System Text                                                              UserText
CINGULAR SERVICE SUMMARY E-MAILED VIA CSS                        SUMMARY EMAILED TO ACCOUNT_EMAIL_ADDRESS JANUARY 11, 2006
REQUEST SITE                                                     1:28:46 PM EST . THE WORKING USER ID IS :EDPAPP




 01/11/2006 12:28:43   Service Sum Generate                CSM              7421   30191 - CINGULAR SERVICE SUMMARY - CAM
                        System Text                                                              UserText
CINGULAR SERVICE SUMMARY GENERATED                               PROFILE GENERATED JANUARY 11, 2006 12:28:35 PM EST . THE WORKING
                                                                 USER ID IS :EDPAPP




                                                                                                 UserText




 01/11/2006 12:28:13   Activation                          SUB              7437   30229 - OPUS - API ID
                        System Text                                                              UserText
Subscriber Activated effective: 01/11/2006. Reason: CTN
ACTIVATION. CAS#:                . Deposit: $0.00, PP:
           , LDC: 5475 Subscriber:           7437 GROUP:
         .
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                          EXHIBIT 2
        Case 5:17-cv-00179-JPB-JPM
    Creation Date          TYPE
                                   Document
                                      Category
                                               15-2  Filed 02/16/18
                                                 Subscriber
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                                                               Created By



                                                                             UserText




 08/12/2008 13:26:32   CM - Interaction   CRM        - -          30145 - CLARIFY CRM CAM
                        System Text                                          UserText
CM - Interaction                                ::CLARIFY:: INTERACTION
                                                CREATED ON: 2008-08-12 14:23:45.0
                                                CREATED BY: TH9443 (HARRIS, TYRONE)
                                                CALLER: MARK MEY
                                                VERIFICATION METHOD: SSN
                                                NEED: BILL/CHANGE CONTACT INFORMATION/ACCOUNT INFORMATION
                                                NOTES: CONTACT: MARK A. MEY,           ,CCI WANTED WIFE AS
                                                AUTHORIZED USER (DIANA MEY)
                                                ...DONE...TYRONE.HARRIS/BIGGUMS/MEMPHIS; SYSTEM
                                                NOTES:TH9443;MARK MEY OWNER;             ;VERIFIED WITH ACCOUNT
                                                OWNER SSN;BILL:CHANGE CONTACT INFORMATION:ACCOUNT
                                                INFORMATION:ONE AND DONE:UPDATED AUTHORIZED USER INFORMATION
                                                ACTION




                                                                             UserText
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01/08/2009 13:02:57   General Note   COR                    30229 - OPUS - API ID
                       System Text                                       UserText
                                           DIANA MEY PRESENTED POWER OF ATTORNEY STATING THAT SHE IS
                                           AUTHORIZED
                                           TO MAKE ANY CHANGES NECESSARY IN THE NAME OF MARK MEY. . THE
                                           WORKING USER ID IS :ZACHARY ALEXANDER
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                          EXHIBIT 3
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 03/16/2012 10:15:00   Restore SUB                     CTN   304-242-7346   30229 - OPUS - API ID
                        System Text                                                      UserText
Subscriber Restored effective 03/16/2012. Reason:
CONTRACT ACCEPTED.




 03/16/2012 10:14:59   Contract Accepted               SUB   304-242-7346   30229 - OPUS - API ID
                        System Text                                                      UserText
Commitment Term: 24, Terms and Conditions status was
changed from Pending to Signature Capture
          Case 5:17-cv-00179-JPB-JPM Document 15-2 Filed 02/16/18 Page 11 of 126 PageID #:
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 03/16/2012 10:14:20   Service Sum Generate              CSM        304-242-7346   30191 - CINGULAR SERVICE SUMMARY - CAM
                        System Text                                                             UserText
Customer Service Summary Generated.                             CUSTOMER SERVICE SUMMARY WAS GENERATED ON MARCH 16, 2012
                                                                10:14:10 AM EDT . THE WORKING USER ID IS :EDPAPP




                                                                                                UserText




 03/16/2012 10:13:33   Suspend SUB                       CTN        304-242-7346   30229 - OPUS - API ID
                        System Text                                                             UserText
Subscriber Suspended. effective 03/16/2012. Reason:
CONTRACT ACCEPTANCE.




                                                                                                UserText




 03/16/2012 10:13:32   Auto Attach SOC                   CSM        304-242-7346   30229 - OPUS - API ID
                        System Text                                                             UserText
Standard International Dialing SOC ILSR automatically added
to subscriber on 03/16/2012 based on activation of service in
a company owned retail channel.


 03/16/2012 10:13:31   Activation                        SUB        304-242-7346   30229 - OPUS - API ID
                        System Text                                                             UserText
Subscriber Activated effective: 03/16/2012. Reason: PORTIN.
CAS#: 203161002181. Deposit: $0.00, PP: FN3NM0A60, LDC:
5475 Subscriber: 3042427346 GROUP: G1449123.




                                                                                                UserText
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                         EXHIBIT 5
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                         EXHIBIT 6
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                                                              Winter 2012




                                              wireless customer
                                                 agreement




                                     enterprise customers:
                                     additional service and
                                    equipment-related terms




             FMS TC T 0212 0200 E




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                    1.3 Can AT&T Change My Terms And Rates?
                    1.4 What Charges Am I Responsible For? How Much Time Do I Have To Dispute My Bill?
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                    5.8   FamilyTalk® Plan



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                        9.3.2 Governing Law
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                                    1.0 TERM COMMITMENT, CHARGES, BILLING AND PAYMENT




                                       1.1   What Is The Term Of My Service?                    1

                                       1.2   What Happens If My Service Is Cancelled Or
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                                             Is There A Cancellation/Early Termination Fee?     1

                                       1.3   Can AT&T Change My Terms And Rates?                2

                                       1.4   What Charges Am I Responsible For?
                                             How Much Time Do I Have To Dispute My Bill?        2

                                       1.5   How Does AT&T Calculate My Bill?                   3

                                       1.6   Are Advance Payments And/Or
                                             Deposits Required?                                 4

                                       1.7   What if I fail to pay my AT&T Bill when it is due? 4

                                       1.8   What Happens If My Check Bounces?                  5

                                       1.9   Are There Business or Government Benefits?         5

                                       1.10 Who Can Access My Account and for What
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                                    WIRELESS CUSTOMER AGREEMENT (“Agreement”)
             “AT&T” or “we,” “us” or “our” refers to AT&T Mobility LLC, acting on behalf of its FCC-licensed




                                                                                                                        1.0
             affiliates doing business as AT&T. “You” or “your” refers to the person or entity that is the
             customer of record.

             PLEASE READ THIS AGREEMENT CAREFULLY TO ENSURE THAT YOU UNDERSTAND
             EACH PROVISION, INCLUDING OUR USE OF YOUR LOCATION INFORMATION (SEE
             SECTION 3.6). THIS AGREEMENT REQUIRES THE USE OF ARBITRATION ON AN
             INDIVIDUAL BASIS TO RESOLVE DISPUTES, RATHER THAN JURY TRIALS OR CLASS
             ACTIONS, AND ALSO LIMITS THE REMEDIES AVAILABLE TO YOU IN THE EVENT OF
             A DISPUTE.

             This Agreement, including the AT&T Privacy Policy Located at att.com/privacy, terms
             of service for wireless products, features, applications, and services (“Services”) not
             otherwise described herein that are posted on applicable AT&T websites or devices, and
             any documents expressly referred to herein or therein, make up the complete agreement
             between you and AT&T and supersede any and all prior agreements and understandings
             relating to the subject matter of this Agreement.

             1.0    TERM COMMITMENT, CHARGES, BILLING AND PAYMENT
                   1.1 What Is The Term Of My Service?
             Your Agreement begins on the day we activate your Services and continues through the
             Term of Service specified on your Customer Service Summary (“Service Commitment”). AT
             THE END OF YOUR SERVICE COMMITMENT, THIS AGREEMENT WILL AUTOMATICALLY RENEW
             ON A MONTH-TO-MONTH BASIS.

                    1.2 What Happens If My Service Is Cancelled Or Terminated Before The End
                         Of My Agreement? Is There A Cancellation/Early Termination Fee?
             If you terminate your Agreement within three (3) days of accepting the Agreement, you
             will be entitled to a refund of your activation fee, if any, but you must return the Equipment
             purchased in connection with your Agreement.

             You may terminate this Agreement, for any reason and without incurring the Early
             Termination Fee, within thirty (30) days of accepting your Agreement, PROVIDED, you will
             remain responsible for any Services fees and charges incurred. If you purchase Equipment
             directly from AT&T in connection with your Agreement, but you terminate within 30 days
             and fail to return the Equipment to AT&T, you will be subject to an Equipment Fee in the
             maximum amount of the difference between the no-commitment price of the Equipment
             and the amount you actually paid for the Equipment. AT&T may charge you a restocking fee
             for any returned Equipment. Some dealers impose additional fees.

             You have received certain benefits from us in exchange for any Service Commitment
             greater than one month. If we terminate your Services for nonpayment or other default
             before the end of your Service Commitment, or if you terminate your Services for any
             reason other than (a) in accordance with the cancellation policy; or (b) pursuant to a
             change of terms, conditions or rates as set forth below, you agree to pay us with respect
             to each device identifier or telephone number assigned to you, in addition to all other
             amounts owed, an Early Termination Fee in the amount specified below (“Early Termination
             Fee”). If your Service Commitment includes the purchase of certain specified Equipment
             on or after June 1, 2010, the Early Termination Fee will be $325 minus $10 for each full
             month of your Service Commitment that you complete. (For a complete list of the specified
             Equipment, check att.com/equipmentETF). Otherwise your Early Termination Fee will be
             $150 minus $4 for each full month of your Service Commitment that you complete. The
             Early Termination Fee is not a penalty, but rather a charge to compensate us for your failure
             to satisfy the Service Commitment on which your rate plan is based.

             Either party may terminate this Agreement at any time after your Service Commitment
             ends with thirty (30) days notice to the other party. We may terminate this Agreement at
                                                                                                                    1



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                 any time without notice if we cease to provide Services in your area. We may interrupt or
                 terminate your Services without notice:
                           1) for any conduct that we believe violates this Agreement,
     1.0


                           2) if you behave in an abusive, derogatory, or similarly unreasonable manner with
                       any of our representatives,
                           3) if we discover that you are underage,
                           4) if you fail to make all required payments when due,
                           5) if we have reasonable cause to believe that your Equipment is being used for
                       an unlawful purpose or in a way that (i) is harmful to, interferes with, or may adversely
                       affect our Services or the network of any other provider, (ii) interferes with the use or
                       enjoyment of Services received by others, (iii) infringes intellectual property rights, (iv)
                       results in the publication of threatening or offensive material, or (v) constitutes spam
                       or other abusive messaging or calling, a security risk, or a violation of privacy,
                           6) if you provided inaccurate credit information, or
                           7) we believe your credit has deteriorated and you refuse to pay any requested
                       advance payment or deposit.

                 If you sign a new Agreement before the end of your original Agreement, but terminate the
                 new Agreement within 30 days as allowed above, the new Agreement will terminate and
                 you agree to be bound to the terms and conditions of your original Agreement, including
                 any remaining Service Commitment.

                       1.3 Can AT&T Change My Terms And Rates?
                 We may change any terms, conditions, rates, fees, expenses, or charges regarding your
                 Services at any time. We will provide you with notice of material changes (other than
                 changes to governmental fees, proportional charges for governmental mandates, roaming
                 rates or administrative charges) either in your monthly bill or separately. You understand
                 and agree that State and Federal Universal Service Fees and other governmentally imposed
                 fees, whether or not assessed directly upon you, may be increased based upon the
                 government’s or our calculations.

                 IF WE INCREASE THE PRICE OF ANY OF THE SERVICES TO WHICH YOU SUBSCRIBE, BEYOND
                 THE LIMITS SET FORTH IN YOUR CUSTOMER SERVICE SUMMARY, OR IF WE MATERIALLY
                 DECREASE THE GEOGRAPHICAL AREA IN WHICH YOUR AIRTIME RATE APPLIES (OTHER
                 THAN A TEMPORARY DECREASE FOR REPAIRS OR MAINTENANCE), WE’LL DISCLOSE THE
                 CHANGE AT LEAST ONE BILLING CYCLE IN ADVANCE (EITHER THROUGH A NOTICE WITH
                 YOUR BILL, A TEXT MESSAGE TO YOUR DEVICE, OR OTHERWISE), AND YOU MAY TERMINATE
                 THIS AGREEMENT WITHOUT PAYING AN EARLY TERMINATION FEE OR RETURNING OR
                 PAYING FOR ANY PROMOTIONAL ITEMS, PROVIDED YOUR NOTICE OF TERMINATION
                 IS DELIVERED TO US WITHIN THIRTY (30) DAYS AFTER THE FIRST BILL REFLECTING THE
                 CHANGE.

                 If you lose your eligibility for a particular rate plan, we may change your rate plan to one
                 for which you qualify.

                       1.4 What Charges Am I Responsible For? How Much Time Do I Have To
                            Dispute My Bill?
                 You are responsible for paying all charges for or resulting from Services provided under this
                 Agreement, including any activation fee that may apply to each voice or data line. You will
                 receive monthly bills that are due in full.

                 IF YOU DISPUTE ANY CHARGES ON YOUR BILL, YOU MUST NOTIFY US IN WRITING AT AT&T
                 BILL DISPUTE, 1025 LENOX PARK, ATLANTA, GA 30319 WITHIN 100 DAYS OF THE DATE OF
                 THE BILL OR YOU’LL HAVE WAIVED YOUR RIGHT TO DISPUTE THE BILL AND TO PARTICIPATE
                 IN ANY LEGAL ACTION RAISING SUCH DISPUTE.

                 Charges include, without limitation, airtime, roaming, recurring monthly service, activation,
                 administrative, and late payment charges; regulatory cost recovery and other surcharges;
                 optional feature charges; toll, collect call and directory assistance charges; restoral
           2



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             and reactivation charges; any other charges or calls billed to your phone number; and
             applicable taxes and governmental fees, whether assessed directly upon you or upon AT&T.




                                                                                                                         1.0
             To determine your primary place of use (“PPU”) and which jurisdiction’s taxes and
             assessments to collect, you’re required to provide us with your residential or business street
             address. If you don’t provide us with such address, or if it falls outside our licensed Services
             area, we may reasonably designate a PPU within the licensed Services area for you. You
             must live and have a mailing address within AT&T’s owned network coverage area.

                    1.5 How Does AT&T Calculate My Bill?
             Usage and monthly fees will be billed as specified in your customer service summary or
             rate plan information online. If the Equipment you order is shipped to you, your Services
             may be activated before you take delivery of the Equipment so that you can use it promptly
             upon receipt. Thus, you may be charged for Services while your Equipment is still in transit.
             If, upon receiving your first bill, you have been charged for Services while your Equipment
             was in transit, you may contact Customer Care 1-800-331-0500 to request a credit. Except
             as provided below, monthly Services and certain other charges are billed one month in
             advance, and there is no proration of such charges if Service is terminated on other than
             the last day of your billing cycle. Monthly Service and certain other charges are billed in
             arrears if you’re a former customer of AT&T Wireless and maintain uninterrupted Service on
             select AT&T rate plans, however, if you elect to receive your bills for your Services combined
             with your wireline phone bill (where available) you will be billed in advance as provided
             above. You agree to pay for all services used with your Device.

             AIRTIME AND OTHER MEASURED USAGE (“CHARGEABLE TIME”) IS BILLED IN FULL-MINUTE
             INCREMENTS, AND ACTUAL AIRTIME AND USAGE ARE ROUNDED UP TO THE NEXT FULL-
             MINUTE INCREMENT AT THE END OF EACH CALL FOR BILLING PURPOSES. AT&T CHARGES A
             FULL MINUTE OF AIRTIME USAGE FOR EVERY FRACTION OF THE LAST MINUTE OF AIRTIME
             USED ON EACH WIRELESS CALL. UNLESS OTHERWISE PROVIDED IN YOUR PLAN, MINUTES
             WILL BE DEPLETED ACCORDING TO USAGE IN THE FOLLOWING ORDER: NIGHT AND
             WEEKEND MINUTES, MOBILE TO MOBILE MINUTES, ANYTIME MINUTES AND ROLLOVER,
             EXCEPT THAT MINUTES THAT ARE PART OF BOTH A LIMITED PACKAGE AND AN UNLIMITED
             PACKAGE WILL NOT BE DEPLETED FROM THE LIMITED PACKAGE. Chargeable Time begins
             for outgoing calls when you press SEND (or similar key) and for incoming calls when a
             signal connection from the caller is established with our facilities. Chargeable Time ends
             after you press END (or similar key), but not until your wireless telephone’s signal of call
             disconnect is received by our facilities and the call disconnect signal has been confirmed.

             All outgoing calls for which we receive answer supervision or which have at least 30
             seconds of Chargeable Time, including ring time, shall incur a minimum of one minute
             airtime charge. Answer supervision is generally received when a call is answered; however,
             answer supervision may also be generated by voicemail systems, private branch exchanges,
             and interexchange switching equipment. Chargeable Time may include time for us to
             recognize that only one party has disconnected from the call, time to clear the channels
             in use, and ring time. Chargeable Time may also occur from other uses of our facilities,
             including by way of example, voicemail deposits and retrievals, and call transfers. Calls that
             begin in one rate period and end in another rate period may be billed in their entirety at
             the rates for the period in which the call began.

             DATA TRANSPORT IS CALCULATED IN FULL-KILOBYTE INCREMENTS, AND ACTUAL
             TRANSPORT IS ROUNDED UP TO THE NEXT FULL-KILOBYTE INCREMENT AT THE END OF
             EACH DATA SESSION FOR BILLING PURPOSES. AT&T CALCULATES A FULL KILOBYTE OF
             DATA TRANSPORT FOR EVERY FRACTION OF THE LAST KILOBYTE OF DATA TRANSPORT
             USED ON EACH DATA SESSION. TRANSPORT IS BILLED EITHER BY THE KILOBYTE (“KB”)
             OR MEGABYTE (“MB”). IF BILLED BY MB, THE FULL KBs CALCULATED FOR EACH DATA
             SESSION DURING THE BILLING PERIOD ARE TOTALED AND ROUNDED UP TO NEXT FULL
             MB INCREMENT TO DETERMINE BILLING. IF BILLED BY KB, THE FULL KBs CALCULATED FOR
             EACH DATA SESSION DURING THE BILLING PERIOD ARE TOTALED TO DETERMINE BILLING.
             NETWORK OVERHEAD, SOFTWARE UPDATE REQUESTS, EMAIL NOTIFICATIONS, AND RESEND
                                                                                                                     3



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                 REQUESTS CAUSED BY NETWORK ERRORS CAN INCREASE MEASURED KILOBYTES. DATA
                 TRANSPORT OCCURS WHENEVER YOUR DEVICE IS CONNECTED TO OUR NETWORK AND
                 IS ENGAGED IN ANY DATA TRANSMISSION, INCLUDING BUT NOT LIMITED TO: (i) SENDING
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                 OR RECEIVING EMAIL, DOCUMENTS, OR OTHER CONTENT, (ii) ACCESSING WEBSITES, OR (iii)
                 DOWNLOADING AND USING APPLICATIONS. SOME APPLICATIONS, CONTENT, PROGRAMS,
                 AND SOFTWARE THAT YOU DOWNLOAD OR THAT COMES PRE-LOADED ON YOUR DEVICE
                 AUTOMATICALLY AND REGULARLY SEND AND RECEIVE DATA TRANSMISSIONS IN ORDER
                 TO FUNCTION PROPERLY, WITHOUT YOU AFFIRMATIVELY INITIATING THE REQUEST AND
                 WITHOUT YOUR KNOWLEDGE. FOR EXAMPLE, APPLICATIONS THAT PROVIDE REAL-TIME
                 INFORMATION AND LOCATION-BASED APPLICATIONS CONNECT TO OUR NETWORK, AND
                 SEND AND RECEIVE UPDATED INFORMATION SO THAT IT IS AVAILABLE TO YOU WHEN
                 YOU WANT TO ACCESS IT. YOU WILL BE BILLED FOR ALL DATA TRANSPORT AND USAGE
                 WHEN YOUR DEVICE IS CONNECTED TO OUR NETWORK, INCLUDING THAT WHICH YOU
                 AFFIRMATIVELY INITIATE OR THAT WHICH RUNS AUTOMATICALLY IN THE BACKGROUND
                 WITHOUT YOUR KNOWLEDGE, AND WHETHER SUCCESSFUL OR NOT.

                 If you select a rate plan that includes a predetermined allotment of Services (for example,
                 a predetermined amount of airtime, megabytes or messages), unless otherwise specifically
                 provided as a part of such rate plan, any unused allotment of Services from one billing
                 cycle will not carry over to any other billing cycle. We may bill you in a format as we
                 determine from time to time. Additional charges may apply for additional copies of your
                 bill, or for detailed information about your usage of Services.

                 Delayed Billing: Billing of usage for calls, messages, data or other Services (such as usage
                 when roaming on other carriers’ networks, including internationally) may occasionally be
                 delayed. Such usage charges may appear in a later billing cycle, will be deducted from
                 Anytime monthly minutes or other Services allotments for the month when the usage is
                 actually billed, and may result in additional charges for that month. Those minutes will be
                 applied against your Anytime monthly minutes in the month in which the calls appear on
                 your bill. You also remain responsible for paying your monthly Service fee if your Service is
                 suspended for nonpayment. We may require payment by money order, cashier’s check, or a
                 similarly secure form of payment at our discretion.

                       1.6 Are Advance Payments And/Or Deposits Required?
                 We may require you to make deposits or advance payments for Services, which we may
                 offset against any unpaid balance on your account. Interest won’t be paid on advance
                 payments or deposits unless required by law. We may require additional advance payments
                 or deposits if we determine that the initial payment was inadequate. Based on your
                 creditworthiness as we determine it, we may establish a credit limit and restrict Services or
                 features. If your account balance goes beyond the limit we set for you, we may immediately
                 interrupt or suspend Services until your balance is brought below the limit. Any charges
                 you incur in excess of your limit become immediately due. If you have more than one
                 account with us, you must keep all accounts in good standing to maintain Services. If one
                 account is past due or over its limit, all accounts in your name are subject to interruption or
                 termination and all other available collection remedies.

                       1.7 What if I fail to pay my AT&T Bill when it is due?
                 Late payment charges are based on the state to which the area code of the wireless
                 telephone number assigned to you is assigned by the North American Numbering Plan
                 Administration (for area code assignments see nationalnanpa.com/area_code_maps). You
                 agree that for amounts not paid by the due date, AT&T may charge, as a part of its rates
                 and charges, and you agree to pay, a late payment fee of $5 in CT, D.C., DE, IL, KS, MA, MD,
                 ME, MI, MO, NH, NJ, NY, OH, OK, PA, RI, VA, VT, WI, WV; the late payment charge is 1.5% of
                 the balance carried forward to the next bill in all other states. In the event you fail to
                 pay billed charges when due and it becomes necessary for AT&T to refer your
                 account(s) to a third party for collection, AT&T will charge a collection fee at the
                 maximum percentage permitted by applicable law, but not to exceed 18% to cover
                 the internal collection-related costs AT&T has incurred on such account(s) through
                 and including the date on which AT&T refer(s) the account(s) to such third party.
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             You expressly authorize, and specifically consent to allowing, AT&T and/or its outside
             collection agencies, outside counsel, or other agents to contact you in connection with
             any and all matters relating to unpaid past due charges billed by AT&T to you. You agree




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             that, for attempts to collect unpaid past due charges, such contact may be made to any
             mailing address, telephone number, cellular phone number, e-mail address, or any other
             electronic address that you have provided, or may in the future provide, to AT&T. You
             agree and acknowledge that any e-mail address or any other electronic address that you
             provide to AT&T is your private address and is not accessible to unauthorized third parties.
             For attempts to collect unpaid charges, you agree that in addition to individual persons
             attempting to communicate directly with you, any type of contact described above may be
             made using, among other methods, pre-recorded or artificial voice messages delivered by
             an automatic telephone dialing system, pre-set e-mail messages delivered by an automatic
             e-mailing system, or any other pre-set electronic messages delivered by any other
             automatic electronic messaging system.

                   1.8 What Happens If My Check Bounces?
             We’ll charge you up to $30 (depending on applicable law) for any check or other
             instrument (including credit card charge backs) returned unpaid for any reason.

                   1.9 Are There Business or Government Benefits?
             You may receive or be eligible for certain rate plans, discounts, features, promotions, and
             other benefits (“Benefits”) through a business or government customer’s agreement with
             us (“Business Agreement”). All such Benefits are provided to you solely as a result of the
             corresponding Business Agreement, and may be modified or terminated without notice.

             If a business or government entity pays your charges or is otherwise liable for the
             charges, you authorize us to share your account information with it or its authorized
             agents. If you’re on a rate plan and/or receive certain Benefits tied to a Business
             Agreement with us, but you’re liable for your own charges, then you authorize us to share
             enough account information with it or its authorized agents to verify your continuing
             eligibility for those Benefits.

             You may receive Benefits because of your agreement to have the charges for your
             Services, billed (“Joint Billing”) by a wireline company affiliated with AT&T (“Affiliate”) or
             because you subscribe to certain services provided by an Affiliate. If you cancel Joint
             Billing or the Affiliate service your rates will be adjusted without notice to a rate plan for
             which you qualify.

                    1.10 Who Can Access My Account and for What Purpose?
             You authorize us to provide information about and to make changes to your account,
             including adding new Services, upon the direction of any person able to provide
             information we deem sufficient to identify you. You consent to the use by us or our
             authorized agents of regular mail, predictive or autodialing equipment, email, text
             messaging, facsimile or other reasonable means to contact you to advise you about our
             Services or other matters we believe may be of interest to you. In any event, we reserve
             the right to contact you by any means regarding customer service-related notifications, or
             other such information.




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                                     2.0 HOW DO I RESOLVE DISPUTES WITH AT&T?




                                         2.1   Dispute Resolution By
                                               Binding Arbitration           7

                                         2.2   Arbitration Agreement         7




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             2.0   HOW DO I RESOLVE DISPUTES WITH AT&T?
                   2.1 Dispute Resolution By Binding Arbitration

             PLEASE READ THIS CAREFULLY. IT AFFECTS YOUR RIGHTS.
             Summary:
             Most customer concerns can be resolved quickly and to the customer’s satisfaction by
             calling our customer service department at 1-800-331-0500. In the unlikely event that




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             AT&T’s customer service department is unable to resolve a complaint you may
             have to your satisfaction (or if AT&T has not been able to resolve a dispute it has
             with you after attempting to do so informally), we each agree to resolve those
             disputes through binding arbitration or small claims court instead of in courts of
             general jurisdiction. Arbitration is more informal than a lawsuit in court. Arbitration uses a
             neutral arbitrator instead of a judge or jury, allows for more limited discovery than in court,
             and is subject to very limited review by courts. Arbitrators can award the same damages and
             relief that a court can award. Any arbitration under this Agreement will take place on
             an individual basis; class arbitrations and class actions are not permitted. For any
             non-frivolous claim that does not exceed $75,000, AT&T will pay all costs of the arbitration.
             Moreover, in arbitration you are entitled to recover attorneys’ fees from AT&T to at least the
             same extent as you would be in court.

             In addition, under certain circumstances (as explained below), AT&T will pay you more than
             the amount of the arbitrator’s award and will pay your attorney (if any) twice his or her
             reasonable attorneys’ fees if the arbitrator awards you an amount that is greater than what
             AT&T has offered you to settle the dispute.

                   2.2 Arbitration Agreement
             (1) AT&T and you agree to arbitrate all disputes and claims between us. This agreement
             to arbitrate is intended to be broadly interpreted. It includes, but is not limited to:
                   • claims arising out of or relating to any aspect of the relationship between us,
                        whether based in contract, tort, statute, fraud, misrepresentation or any other
                        legal theory;
                   • claims that arose before this or any prior Agreement (including, but not limited to,
                        claims relating to advertising);
                   • claims that are currently the subject of purported class action litigation in which
                        you are not a member of a certified class; and
                   • claims that may arise after the termination of this Agreement.

             References to “AT&T,” “you,” and “us” include our respective subsidiaries, affiliates, agents,
             employees, predecessors in interest, successors, and assigns, as well as all authorized or
             unauthorized users or beneficiaries of services or Devices under this or prior Agreements
             between us. Notwithstanding the foregoing, either party may bring an individual action in
             small claims court. This arbitration agreement does not preclude you from bringing issues
             to the attention of federal, state, or local agencies, including, for example, the Federal
             Communications Commission. Such agencies can, if the law allows, seek relief against
             us on your behalf. You agree that, by entering into this Agreement, you and AT&T
             are each waiving the right to a trial by jury or to participate in a class action.
             This Agreement evidences a transaction in interstate commerce, and thus the Federal
             Arbitration Act governs the interpretation and enforcement of this provision. This arbitration
             provision shall survive termination of this Agreement.

             (2) A party who intends to seek arbitration must first send to the other, by certified mail, a
             written Notice of Dispute (“Notice”). The Notice to AT&T should be addressed to: Office for
             Dispute Resolution, AT&T, 1025 Lenox Park Blvd., Atlanta, GA 30319 (“Notice Address”). The
             Notice must (a) describe the nature and basis of the claim or dispute; and (b) set forth the
             specific relief sought (“Demand”). If AT&T and you do not reach an agreement to resolve the
             claim within 30 days after the Notice is received, you or AT&T may commence an arbitration
             proceeding. During the arbitration, the amount of any settlement offer made by AT&T or
             you shall not be disclosed to the arbitrator until after the arbitrator determines the amount,
                                                                                                                    7



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                 if any, to which you or AT&T is entitled. You may download or copy a form Notice and a
                 form to initiate arbitration at att.com/arbitration-forms.

                 (3) After AT&T receives notice at the Notice Address that you have commenced arbitration,
                 it will promptly reimburse you for your payment of the filing fee, unless your claim is for
                 greater than $75,000. (The filing fee currently is $125 for claims under $10,000 but is
                 subject to change by the arbitration provider. If you are unable to pay this fee, AT&T will
                 pay it directly upon receiving a written request at the Notice Address.) The arbitration will
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                 be governed by the Commercial Arbitration Rules and the Supplementary Procedures
                 for Consumer Related Disputes (collectively, “AAA Rules”) of the American Arbitration
                 Association (“AAA”), as modified by this Agreement, and will be administered by the AAA.
                 The AAA Rules are available online at adr.org, by calling the AAA at 1-800-778-7879, or
                 by writing to the Notice Address. (You may obtain information that is designed for non-
                 lawyers about the arbitration process at att.com/arbitration-information.) The arbitrator is
                 bound by the terms of this Agreement. All issues are for the arbitrator to decide, except
                 that issues relating to the scope and enforceability of the arbitration provision are for the
                 court to decide. Unless AT&T and you agree otherwise, any arbitration hearings will take
                 place in the county (or parish) of your billing address. If your claim is for $10,000 or less,
                 we agree that you may choose whether the arbitration will be conducted solely on the
                 basis of documents submitted to the arbitrator, through a telephonic hearing, or by an
                 in-person hearing as established by the AAA Rules. If your claim exceeds $10,000, the right
                 to a hearing will be determined by the AAA Rules. Regardless of the manner in which the
                 arbitration is conducted, the arbitrator shall issue a reasoned written decision sufficient
                 to explain the essential findings and conclusions on which the award is based. Except as
                 otherwise provided for herein, AT&T will pay all AAA filing, administration, and arbitrator
                 fees for any arbitration initiated in accordance with the notice requirements above. If,
                 however, the arbitrator finds that either the substance of your claim or the relief sought in
                 the Demand is frivolous or brought for an improper purpose (as measured by the standards
                 set forth in Federal Rule of Civil Procedure 11(b)), then the payment of all such fees will
                 be governed by the AAA Rules. In such case, you agree to reimburse AT&T for all monies
                 previously disbursed by it that are otherwise your obligation to pay under the AAA Rules. In
                 addition, if you initiate an arbitration in which you seek more than $75,000 in damages, the
                 payment of these fees will be governed by the AAA rules.

                 (4) If, after finding in your favor in any respect on the merits of your claim, the arbitrator
                 issues you an award that is greater than the value of AT&T’s last written settlement offer
                 made before an arbitrator was selected, then AT&T will:

                               • pay you the amount of the award or $10,000 (“the alternative payment”),
                                 whichever is greater; and
                               • pay your attorney, if any, twice the amount of attorneys’ fees, and reimburse
                                 any expenses (including expert witness fees and costs) that your attorney
                                 reasonably accrues for investigating, preparing, and pursuing your claim in
                                 arbitration (“the attorney premium”).

                 If AT&T did not make a written offer to settle the dispute before an arbitrator was selected,
                 you and your attorney will be entitled to receive the alternative payment and the attorney
                 premium, respectively, if the arbitrator awards you any relief on the merits. The arbitrator
                 may make rulings and resolve disputes as to the payment and reimbursement of fees,
                 expenses, and the alternative payment and the attorney premium at any time during the
                 proceeding and upon request from either party made within 14 days of the arbitrator’s
                 ruling on the merits.

                 (5) The right to attorneys’ fees and expenses discussed in paragraph (4) supplements any
                 right to attorneys’ fees and expenses you may have under applicable law. Thus, if you
                 would be entitled to a larger amount under the applicable law, this provision does not
                 preclude the arbitrator from awarding you that amount. However, you may not recover
                 duplicative awards of attorneys’ fees or costs. Although under some laws AT&T may have
                 a right to an award of attorneys’ fees and expenses if it prevails in an arbitration, AT&T
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             agrees that it will not seek such an award.

             (6) The arbitrator may award declaratory or injunctive relief only in favor of the individual
             party seeking relief and only to the extent necessary to provide relief warranted by that
             party’s individual claim. YOU AND AT&T AGREE THAT EACH MAY BRING CLAIMS
             AGAINST THE OTHER ONLY IN YOUR OR ITS INDIVIDUAL CAPACITY, AND NOT AS
             A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS OR REPRESENTATIVE
             PROCEEDING. Further, unless both you and AT&T agree otherwise, the arbitrator may




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             not consolidate more than one person’s claims, and may not otherwise preside over
             any form of a representative or class proceeding. If this specific provision is found to be
             unenforceable, then the entirety of this arbitration provision shall be null and void.

             (7) Notwithstanding any provision in this Agreement to the contrary, we agree that if AT&T
             makes any future change to this arbitration provision (other than a change to the Notice
             Address) during your Service Commitment, you may reject any such change by sending
             us written notice within 30 days of the change to the Arbitration Notice Address provided
             above. By rejecting any future change, you are agreeing that you will arbitrate any dispute
             between us in accordance with the language of this provision.




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                                 3.0 TERMS RELATING TO YOUR DEVICE AND CONTENT




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                                    3.2   Where and How Does
                                          AT&T Service Work?                               11
                                    3.3   What Information, Content And
                                          Applications Are Provided By Third Parties?      11
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             3.0    TERMS RELATING TO YOUR DEVICE AND CONTENT
                   3.1 My Device
             You are responsible for all phones and other devices containing a SIM assigned to
             your account (“Devices”). Your Device must be compatible with, and not interfere with,
             our Services and must comply with all applicable laws, rules, and regulations. We may
             periodically program your Device remotely with system settings for roaming service, to
             direct your Device to use network services most appropriate for your typical usage, and
             other features that cannot be changed manually.

             Devices purchased for use on AT&T’s system are designed for use exclusively on AT&T’s
             system (“Equipment”). You agree that you won’t make any modifications to the Equipment
             or programming to enable the Equipment to operate on any other system. AT&T may, at
             its sole and absolute discretion, modify the programming to enable the operation of the
             Equipment on other systems.




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             If you bought a phone from AT&T, your phone may have been programmed with a SIM lock
             which will prevent the phone from operating with other compatible wireless telephone
             carriers’ services. If you wish to use the SIM-locked phone with the service of another
             wireless telephone carrier, you must enter a numeric Unlock Code to unlock the phone.
             AT&T will provide the Unlock Code upon request to eligible current and former customers,
             provided that (1) the customer has completed a minimum of 90 days of active service with
             AT&T, is in good standing with AT&T and is current in his or her payments at the time of the
             request; (2) if applicable, any period of exclusivity associated with AT&T’s sale of the handset
             has expired; and (3) AT&T has such code or can reasonably obtain it from the manufacturer.
             For phones sold with a Prepaid Plan, AT&T will provide the Unlock Code upon request to
             eligible current and former customers who provide a detailed receipt or other proof of
             purchase of the phone. iPhone and certain other devices are not eligible to be unlocked.
             For further details on eligibility requirements and for assistance on obtaining the Unlock
             Code for your handset, please call 1-800-331-0500 or visit an AT&T company store.

             You are solely responsible for complying with U.S. Export Control laws and regulations and
             the import laws and regulations of foreign countries when traveling internationally with
             your Equipment.

                    3.2 Where and How Does AT&T Service Work?
             AT&T does not guarantee availability of wireless network. Services may be subject to
             certain Device and compatibility/limitations including memory, storage, network availability,
             coverage, accessibility and data conversion limitations. Services (including without
             limitation, eligibility requirements, plans, pricing, features and/or service areas) are subject
             to change without notice.

             When outside AT&T’s coverage area, access will be limited to information and applications
             previously downloaded to or resident on your device. Coverage areas vary between
             AT&T network technologies. See coverage map(s), available at store or from your sales
             representative, for details or the coverage map at www.att.com/coverage-viewer.
             Actual network speeds depend upon device characteristics, network, network availability
             and coverage levels, tasks, file characteristics, applications and other factors. Performance
             may be impacted by transmission limitations, terrain, in-building/in-vehicle use and
             capacity constraints.

                   3.3 What Information, Content, And Applications Are Provided By
                        Third Parties?
             Certain information, applications, or other content is provided by independently owned
             and operated content providers or service providers who are subject to change at any time
             without notice.

             AT&T IS NOT A PUBLISHER OF THIRD-PARTY INFORMATION, APPLICATIONS, OR OTHER
             CONTENT AND IS NOT RESPONSIBLE FOR ANY OPINIONS, ADVICE, STATEMENTS, OR OTHER
             INFORMATION, SERVICES OR GOODS PROVIDED BY THIRD PARTIES.
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                 Third-party content or service providers may impose additional charges. Policies regarding
                 intellectual property, privacy and other policies or terms of use may differ among AT&T’s
                 content or service providers and you are bound by such policies or terms when you visit
                 their respective sites or use their services. It is your responsibility to read the rules or
                 service agreements of each content provider or service provider.

                 Any information you involuntarily or voluntarily provide to third parties is governed by
                 their policies or terms. The accuracy, appropriateness, content, completeness, timeliness,
                 usefulness, security, safety, merchantability, fitness for a particular purpose, transmission or
                 correct sequencing of any application, information or downloaded data is not guaranteed
                 or warranted by AT&T or any content providers or other third party. Delays or omissions
                 may occur. Neither AT&T nor its content providers, service providers or other third parties
                 shall be liable to you for any loss or injury arising out of or caused, in whole or in part, by
                 your use of any information, application or content, or any information, application, or other
     3.0




                 content acquired through the Service.

                 You acknowledge that every business or personal decision, to some degree or another,
                 represents an assumption of risk, and that neither AT&T nor its content and service
                 providers or suppliers, in providing information, applications or other content or services,
                 or access to information, applications, or other content underwrites, can underwrite, or
                 assumes your risk in any manner whatsoever.

                       3.4 How Can I Get Mobile Content?
                 You understand that Devices can be used to acquire or purchase goods, content, and
                 services (including subscription plans) like ring tones, graphics, games, applications and
                 news alerts from AT&T or other companies (“Content”). You understand that you are
                 responsible for all authorized charges associated with such Content from any Device
                 assigned to your account, that these charges will appear on your bill (including charges on
                 behalf of other companies), and that such purchases can be restricted by using parental
                 controls available from an AT&T salesperson, or by calling AT&T.

                 You have full-time access to your Content purchase transaction history on our website. You
                 may contest charges and seek refunds for purchases with which you are not satisfied. AT&T
                 reserves the right to restrict Content purchases or terminate the account of anyone who
                 seeks refunds on improper grounds or otherwise abuses this Service.

                 Actual Content may vary based on the Device capabilities. Content may be delivered in
                 multiple messages. Content charges are incurred at the stated one-time download rate or
                 subscription rate, plus a per kilobyte or per megabyte default pay per use charge for the
                 Content transport when delivered, unless you have a data plan and such charges appear
                 separately on your bill. You will be charged each time you download Content. Data Service
                 charges apply.

                       3.5 Am I Responsible If Someone Makes A Purchase With My Device?
                 Except as otherwise provided in this Agreement, if your Device is used by others to make
                 Content purchases, you are responsible for all such purchases. If this occurs, you are giving
                 those other users your authority to:

                 1) make Content purchases from those Devices, and to incur charges for those Content
                 purchases that will appear on your bill;
                 2) give consent required for that Content, including the consent to use that user’s location
                 information to deliver customized information to that user’s Device; or
                 3) make any representation required for that content, including a representation of the
                 user’s age, if requested.

                 Usage by others can be restricted by use of parental controls or similar features. Visit
                 att.com/smartlimits to learn more.


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                    3.6 Can I Use Location-Based Services With My Device?
             AT&T collects information about the approximate location of your Device in relation to our
             cell towers and the Global Positioning System (GPS). We use that information, as well as
             other usage and performance information also obtained from our network and your Device,
             to provide you with wireless voice and data services, and to maintain and improve our
             network and the quality of your wireless experience. We may also use location information
             to create aggregate data from which your personally identifiable information has been
             removed or obscured. Such aggregate data may be used for a variety of purposes such as
             scientific and marketing research and services such as vehicle traffic volume monitoring. It
             is your responsibility to notify users on your account that we may collect and use location
             information from Devices.

             Your Device is also capable of using optional Content at your request or the request of a
             user on your account, offered by AT&T or third parties that make use of a Device’s location




                                                                                                                       3.0
             information (“Location-Based Services”). Please review the terms and conditions and
             the associated privacy policy for each Location-Based Service to learn how the location
             information will be used and protected. For more information on Location-Based Services,
             please visit att.com/privacy.

             Our directory assistance service (411) may use the location of a Device to deliver relevant
             customized 411 information based upon the user’s request for a listing or other 411
             service. By using this directory assistance service, the user is consenting to our use of that
             user’s location information for such purpose. This location information may be disclosed
             to a third party to perform the directory assistance service and for no other purpose. Such
             location information will be retained only as long as is necessary to provide the relevant
             customized 411 information and will be discarded after such use. Please see our privacy
             policy at att.com/privacy for additional details.

                    3.7 What If My Device Is Lost Or Stolen?
             If your wireless Device is lost or stolen, you must contact us immediately to report the
             Device lost or stolen. You’re not liable for charges you did not authorize, but the fact that
             a call was placed from your Device is evidence that the call was authorized. (California
             Customers see section “What Terms Apply Only To Specific States?” below). Once you
             report to us that the Device is lost or stolen, you will not be responsible for subsequent
             charges incurred by that Device.

             You can report your Device as lost or stolen and suspend Services without a charge by
             contacting us at the phone number listed on your bill or at wireless.att.com. If there are
             charges on your bill for calls made after the Device was lost or stolen, but before you
             reported it to us, notify us of the disputed charges and we will investigate. You may submit
             documents, statements and other information to show any charges were not authorized.
             You may be asked to provide information and you may submit information to support your
             claim. We will advise you of the result of our investigation within 30 days. While your phone
             is suspended you will remain responsible for complying with all other obligations under this
             Agreement, including, but not limited to, your monthly fee. We both have a duty to act in
             good faith in a reasonable and responsible manner including in connection with the loss or
             theft of your Device.




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                                 4.0 TERMS RELATING TO THE USE AND LIMITATIONS OF SERVICE




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             4.0   TERMS RELATING TO THE USE AND LIMITATIONS OF SERVICE
                   4.1 What Are The Limitations On Service And Liability?
             Unless prohibited by law, the following limitations of liability apply. Service may be
             interrupted, delayed, or otherwise limited for a variety of reasons, including environmental
             conditions, unavailability of radio frequency channels, system capacity, priority access by
             National Security and Emergency Preparedness personnel in the event of a disaster or
             emergency, coordination with other systems, equipment modifications and repairs, and
             problems with the facilities of interconnecting carriers. We may block access to certain
             categories of numbers (e.g., 976, 900, and international destinations) at our sole discretion.

             Additional hardware, software, subscription, credit or debit card, Internet access from your
             compatible PC and/or special network connection may be required and you are solely
             responsible for arranging for or obtaining all such requirements. Some solutions may
             require third party products and/or services, which are subject to any applicable third party
             terms and conditions and may require separate purchase from and/or agreement with the
             third party provider. AT&T is not responsible for any consequential damages caused in any
             way by the preceding hardware, software or other items/requirements for which you are
             responsible.

             Not all plans or Services are available for purchase or use in all sales channels, in all




                                                                                                                         4.0
             areas or with all devices. AT&T is not responsible for loss or disclosure of any sensitive
             information you transmit. AT&T’s wireless services are not equivalent to wireline Internet.
             AT&T is not responsible for nonproprietary services or their effects on devices.

             We may, but do not have the obligation to, refuse to transmit any information through the
             Services and may screen and delete information prior to delivery of that information to you.
             There are gaps in service within the Services areas shown on coverage maps, which, by
             their nature, are only approximations of actual coverage.

             WE DO NOT GUARANTEE YOU UNINTERRUPTED SERVICE OR COVERAGE. WE CANNOT
             ASSURE YOU THAT IF YOU PLACE A 911 CALL YOU WILL BE FOUND. AIRTIME AND OTHER
             SERVICE CHARGES APPLY TO ALL CALLS, INCLUDING INVOLUNTARILY TERMINATED CALLS.
             AT&T MAKES NO WARRANTY, EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS
             FOR A PARTICULAR PURPOSE, SUITABILITY, ACCURACY, SECURITY, OR PERFORMANCE
             REGARDING ANY SERVICES, SOFTWARE OR GOODS, AND IN NO EVENT SHALL AT&T BE
             LIABLE, WHETHER OR NOT DUE TO ITS OWN NEGLIGENCE, for any:
             (a) act or omission of a third party;
             (b) mistakes, omissions, interruptions, errors, failures to transmit, delays, or defects in the
                 Services or Software provided by or through us;
             (c) damage or injury caused by the use of Services, Software, or Device, including use in a
                 vehicle;
             (d) claims against you by third parties;
             (e) damage or injury caused by a suspension or termination of Services or Software by
                 AT&T; or
             (f) damage or injury caused by failure or delay in connecting a call to 911 or any other
                 emergency service.

             Notwithstanding the foregoing, if your Service is interrupted for 24 or more continuous
             hours by a cause within our control, we will issue you, upon request, a credit equal to
             a pro-rata adjustment of the monthly Service fee for the time period your Service was
             unavailable, not to exceed the monthly Service fee. Our liability to you for Service failures is
             limited solely to the credit set forth above.

             Unless prohibited by law, AT&T isn’t liable for any indirect, special, punitive, incidental or
             consequential losses or damages you or any third party may suffer by use of, or inability to
             use, Services, Software, or Devices provided by or through AT&T, including loss of business
             or goodwill, revenue or profits, or claims of personal injuries.


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                 To the full extent allowed by law, you hereby release, indemnify, and hold AT&T and its
                 officers, directors, employees and agents harmless from and against any and all claims
                 of any person or entity for damages of any nature arising in any way from or relating to,
                 directly or indirectly, service provided by AT&T or any person’s use thereof (including, but
                 not limited to, vehicular damage and personal injury), INCLUDING CLAIMS ARISING IN
                 WHOLE OR IN PART FROM THE ALLEGED NEGLIGENCE OF AT&T, or any violation by you of
                 this Agreement. This obligation shall survive termination of your Service with AT&T. AT&T
                 is not liable to you for changes in operation, equipment, or technology that cause your
                 Device or Software to be rendered obsolete or require modification.

                 SOME STATES, INCLUDING THE STATE OF KANSAS, DON’T ALLOW DISCLAIMERS OF IMPLIED
                 WARRANTIES OR LIMITS ON REMEDIES FOR BREACH. THEREFORE, THE ABOVE LIMITATIONS
                 OR EXCLUSIONS MAY NOT APPLY TO YOU. THIS AGREEMENT GIVES YOU SPECIFIC LEGAL
                 RIGHTS, AND YOU MAY HAVE OTHER RIGHTS WHICH VARY FROM STATE TO STATE.

                       4.2 How Can I Use My AT&T Service?
                 All use of AT&T’s wireless network and Services is governed by AT&T’s Acceptable Use Policy,
                 which can be found at att.com/AcceptableUsePolicy, as determined solely by AT&T. AT&T can
                 revise its Acceptable Use Policy at any time without notice by updating this posting.
     4.0




                       4.3 Who Is Responsible For Security?
                 AT&T DOES NOT GUARANTEE SECURITY. Data encryption is available with some, but not all,
                 Services sold by AT&T. If you use your device to access company email or information, it is
                 your responsibility to ensure your use complies with your company’s internal IT and security
                 procedures.

                       4.4 How Can I Use the Software?
                 The software, interfaces, documentation, data, and content provided for your Equipment
                 as may be updated, downloaded, or replaced by feature enhancements, software
                 updates, system restore software or data generated or provided subsequently by AT&T
                 (hereinafter “Software”) is licensed, not sold, to you by AT&T and/or its licensors/suppliers
                 for use only on your Equipment. Your use of the Software shall comply with its intended
                 purposes as determined by us, all applicable laws, and AT&T’s Acceptable Use Policy at
                 att.com/AcceptableUsePolicy.

                 You are not permitted to use the Software in any manner not authorized by this License.
                 You may not (and you agree not to enable others to) copy, decompile, reverse engineer,
                 disassemble, reproduce, attempt to derive the source code of, decrypt, modify, defeat
                 protective mechanisms, combine with other software, or create derivative works of the
                 Software or any portion thereof. You may not rent, lease, lend, sell, redistribute, transfer or
                 sublicense the Software or any portion thereof. You agree the Software contains proprietary
                 content and information owned by AT&T and/or its licensors/suppliers.

                 AT&T and its licensors/suppliers reserve the right to change, suspend, terminate, remove,
                 impose limits on the use or access to, or disable access to, the Software at any time without
                 notice and will have no liability for doing so. You acknowledge AT&T’s Software licensors/
                 suppliers are intended third party beneficiaries of this license, including the indemnification,
                 limitation of liability, disclaimer of warranty provisions found in this Agreement.

                        4.5 How Can I Use Another Carrier’s Network (Off-Net Usage)?

                            4.5.1 Voice
                 If your use of minutes (including unlimited Services) on other carrier networks (“off-
                 net voice usage”) during any two consecutive months exceed your off-net voice usage
                 allowance, AT&T may, at its option, terminate your Services, deny your continued use of
                 other carriers’ coverage or change your plan to one imposing usage charges for off-net
                 voice usage. Your off-net voice usage allowance is equal to the lesser of 750 minutes or
                 40% of the Anytime Minutes included with your plan.

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                        4.5.2 Data
             If your use of the Data Services on other carriers’ wireless networks (“offnet data usage”)
             during any month exceeds your offnet data usage allowance, AT&T may at its option
             terminate your access to Data Services, deny your continued use of other carriers’
             coverage, or change your plan to one imposing usage charges for offnet data usage. Your
             offnet data usage allowance is equal to the lesser of 24 megabytes or 20% of the kilobytes
             included with your plan. You may be required to use a Device programmed with AT&T’s
             preferred roaming database.

                        4.5.3 Messaging
             If you use messaging services (including unlimited Services) on other carrier networks (“off-
             net messaging usage”) during any two consecutive months exceed your off-net messaging
             usage allowance, AT&T may, at its option, terminate your messaging service, deny your
             continued use of other carriers’ coverage or change your plan to one imposing usage
             charges for off-net messaging usage. Your off-net messaging usage allowance is equal to
             the lesser of 3,000 messages or 50% of the messages included with your plan.

                        4.5.4 Notice
              AT&T will provide notice that it intends to take any of the above actions, and you may
             terminate this Agreement.




                                                                                                                        4.0
                   4.6 How Do I Get Service Outside AT&T’s Wireless Network (Roaming)?
             Roaming charges for wireless data or voice Services may be charged with some plans
             when outside AT&T’s wireless network. Services originated or received while outside
             your plan’s included coverage area are subject to roaming charges Use of Services when
             roaming is dependent upon roaming carrier’s support of applicable network technology
             and functionality. Display on your device will not indicate whether you will incur roaming
             charges. Check with roaming carriers individually for support and coverage details.

             Billing for domestic and international roaming usage may be delayed up to three billing
             cycles due to reporting between carriers. Substantial charges may be incurred if your
             phone is taken out of the U.S. even if no Services are intentionally used.

                       4.6.1 International Services
             Certain eligibility restrictions apply which may be based on service tenure, payment history
             and/or credit. Rates are subject to change. For countries, rates and additional details, see
             att.com/global.

                              4.6.1.1 International Roaming:
             Compatible Device required. Your plan may include the capability to make and receive calls
             while roaming internationally. AT&T, in its sole discretion, may block your ability to use your
             Device while roaming internationally until eligibility criteria are met. International roaming
             rates, which vary by country, apply for all calls placed or received while outside the United
             States, Puerto Rico and U.S.V.I. Please consult att.com/global or call 866-246-4852 for
             a list of currently available countries and carriers. All countries may not be available for
             roaming. All carriers within available countries may not be available on certain plans or
             packages. Availability, quality of coverage and services while roaming are not guaranteed.
             When roaming internationally, you will be charged international roaming airtime rates
             including when incoming calls are routed to voicemail, even if no message is left. Taxes are
             additional. If you want to block the ability to make and receive calls or use data functions
             while roaming internationally, you may request that by calling 1-916-843-4685 (at no
             charge from your wireless phone).

                            4.6.1.2 International Data:
             Many Devices, including iPhone transmit and receive data messages without user
             intervention and can generate unexpected charges when powered “on” outside the
             United States, Puerto Rico and USVI. AT&T may send “alerts” via SMS or email, to notify
             you of data usage. These are courtesy alerts. There is no guarantee you will receive them.

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                 They are not a guarantee of a particular bill limit. Receipt of Visual Voicemail messages
                 are charged at international data pay-per-use rates unless customer has an international
                 data plan, in which case receipt of Visual Voicemail messages decrement Kilobytes
                 included in such plan.

                                   4.6.1.3 Data Global Add-Ons and Global Messaging Plans:
                 Require that domestic data or messaging capability be in place. Rates apply only for usage
                 within “roam zone” comprised of select carriers. Within the roam zone, overage rate applies
                 if you exceed the MBs allotted for any Data Global Add-On Plan or the messages allotted
                 for any Global Messaging Package. International roaming pay-per-use rates apply in
                 countries outside the roam zone. See att.com/dataconnectglobal for current roam zone
                 list. If you enroll after the beginning date of your billing cycle, the monthly charge and the
                 data/message allotment included will be correspondingly reduced per day.

                                4.6.1.4 Data Connect Global/North America Plans:
                 Do not include capability to place a voice call and require a 1 year agreement. For specific
                 terms regarding international data plans, see Section 6.11.2 of the Wireless Customer
                 Agreement.

                                  4.6.1.5 International Long Distance:
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                 International rates apply for calls made and messages sent from the U.S., Puerto Rico and
                 U.S.V.I. to another country. Calling or messaging to some countries may not be available.
                 Calls to wireless numbers and numbers for special services, such as Premium Rated
                 Services, may cost more than calls to wireline numbers. If a customer calls an overseas
                 wireline number and the call is forwarded to a wireless number, the customer will be
                 charged for a call terminated to a wireless number. International Long Distance calling rates
                 are charged per minute and apply throughout the same footprint in which the customer’s
                 airtime package minutes apply.

                                 4.6.1.6 International Long Distance Text, Picture & Video Messaging:
                 Additional charges apply for premium messages and content. Messages over 300 KBs
                 are billed an additional 50¢/message. For a complete list of countries, please visit
                 att.com/text2world.

                                4.6.1.7 Cruise Ship Roaming:
                 Cruise ship roaming rates apply for calls placed or data used while on the ship.

                                 4.6.1.8 International Miscellaneous:
                 Export Restrictions: You are solely responsible for complying with U.S. Export Control
                 laws and regulations, and the import laws and regulations of foreign countries when
                 traveling internationally with your Device.




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                                     5.0 WHAT VOICE SERVICES DOES AT&T OFFER?




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             5.0    WHAT VOICE SERVICES DOES AT&T OFFER?
                   5.1 What Are The General Terms That Apply To All AT&T Voice Rate Plans?
             You may obtain usage information by calling customer service or using one of our automated
             systems. Pricing/Taxes/No Proration: Prices do not include taxes, directory assistance,
             roaming, Universal Service Fees, and other surcharges. Final month’s charges are not prorated.
             Activation Fees: Activation Fee may apply for each new line. Nights and Weekends:
             Nights are 9:00 p.m. to 6:00 a.m. Weekends are 9:00 p.m. Friday to 6:00 a.m. Monday (based
             on time of day at the cell site or switch providing your Service). Included long distance calls
             can be made from the 50 United States, Puerto Rico and U.S. Virgin Islands to the 50 United
             States, Puerto Rico, U.S. Virgin Islands, Guam and Northern Mariana Islands. Roaming charges
             do not apply when roaming within the Services area of land-based networks of the 50 United
             States, Puerto Rico and U.S. Virgin Islands. Additional charges apply to Services used outside
             the land borders of the U.S., Puerto Rico and U.S. Virgin Islands.

                    5.2 Voicemail
             Unless you subscribe to an Unlimited Voice Plan or are an upstate New York customer
             subscribing to Enhanced Voicemail, airtime charges apply to calls to your voicemail service,
             including calls where the caller does not leave a message, because the call has been
             completed, calls to listen to, send, reply to, or forward messages, or to perform other
             activities with your voicemail service, including calls forwarded from other phones to your
             voicemail service. You are solely responsible for establishing and maintaining security
             passwords to protect against unauthorized use of your voicemail service. For information
             as to the number of voicemail messages you can store, when voicemail messages will
             be deleted, and other voicemail features, see att.com/wirelessvoicemail. We reserve
             the right to change the number of voicemails you can store, the length you can store
             voicemail messages, when we delete voicemail messages, and other voicemail features




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             without notice. We may deactivate your voicemail service if you do not initialize it within a
             reasonable period after activation. We will reactivate the service upon your request. See
             att.com/global for information about using voicemail internationally.

                   5.3 Voicemail-To-Text (VMTT)
             AT&T is not responsible, nor liable for: 1) errors in the conversion of or its inability to
             transcribe voicemail messages to text/email; 2) lost or misdirected messages; or, 3)
             content that is unlawful, harmful, threatening, abusive, obscene, tortious, or otherwise
             objectionable.

             We do not filter, edit or control voice, text, or email messages, or guarantee the security of
             messages. We can interrupt, restrict or terminate VMTT without notice, if your use of VMTT
             adversely impacts AT&T’s network, for example that could occur from abnormal calling
             patterns or an unusually large number of repeated calls and messages; or if your use is
             otherwise abusive, fraudulent, or does not comply with the law.

             You are solely responsible for and will comply with all applicable laws as to the content
             of any text messages or emails you receive from VMTT that you forward or include in a
             reply to any other person. You authorize AT&T or a third party working on AT&T’s behalf to
             listen to, and transcribe all or part of a voicemail message and to convert such voicemail
             message into text/email, and to use voicemail messages and transcriptions to enhance,
             train and improve AT&T’s speech recognition and transcription services, software and
             equipment.

             Charges for VMTT include the conversion of the voicemail message and the text message
             sent to your wireless device. Additional charges, however, may apply to receiving email on
             your wireless device from VMTT, as well as, replying to or forwarding VMTT messages via
             SMS (text) or email, depending on your plan.

             SMS (text messaging) blocking is incompatible with VMTT. (If you do not have a texting
             plan on your handset, we add a texting pay per use feature when you add VMTT with text
             delivery.) If you are traveling outside the U.S. coverage area, you will incur international data
             charges for emails received from VMTT, as well as, charges for emails you respond to or
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                 forward from VMTT, unless you have an international data plan and the usage falls within
                 the plan’s usage limits.

                 Transcription times cannot be guaranteed. Customers purchasing email delivery are
                 responsible for providing a correct email address and updating the email address when
                 changes to the email account are made.

                 If you choose SMS (text) delivery, VMTT only converts the first 480 characters of a voicemail
                 message into text and you will receive up to three text messages of a transcribed message.
                 The transcription, therefore, may not include the entire voicemail message with SMS
                 delivery. Adding VMTT will create a new voicemail box and all messages and greetings will
                 be deleted from your current voicemail box.

                       5.4 Unlimited Voice Services
                 Unlimited voice Services are provided primarily for live dialog between two individuals. If
                 your use of unlimited voice Services for conference calling or call forwarding exceeds 750
                 minutes per month, AT&T may, at its option, terminate your Service or change your plan to
                 one with no unlimited usage components.

                 Unlimited voice Services may not be used for monitoring services, data transmissions,
                 transmission of broadcasts, transmission of recorded material, or other connections
                 which don’t consist of uninterrupted live dialog between two individuals. If AT&T finds that
                 you’re using an unlimited voice Service offering for other than live dialog between two
                 individuals, AT&T may, at its option terminate your Service or change your plan to one with
                 no unlimited usage components. AT&T will provide notice that it intends to take any of the
                 above actions, and you may terminate the agreement.
     5.0




                       5.5 Caller ID
                 Your caller identification information (such as your name and phone number) may be
                 displayed on the Device or bill of the person receiving your call; technical limitations may,
                 in some circumstances, prevent you from blocking the transmission of caller identification
                 information. Contact customer service for information on blocking the display of your name
                 and number. Caller ID blocking is not available when using Data Services, and your wireless
                 number is transmitted to Internet sites you visit.

                        5.6 Rollover® Minutes
                 If applicable to your plan, Rollover Minutes accumulate and expire through 12 rolling bill
                 periods. Bill Period 1 (activation) unused Anytime Minutes will not carry over. Bill Period 2
                 unused Anytime Minutes will begin to carry over. Rollover Minutes accumulated starting
                 with Bill Period 2 will expire each bill period as they reach a 12-bill-period age. Rollover
                 Minutes will also expire immediately upon default or if customer changes to a non-Rollover
                 plan. If you change plans (including the formation of a FamilyTalk® plan), or if an existing
                 subscriber joins your existing FamilyTalk plan, any accumulated Rollover Minutes in excess
                 of your new plan or the primary FamilyTalk line’s included Anytime Minutes will expire.
                 Rollover Minutes are not redeemable for cash or credit and are not transferable. If you
                 change to non-AT&T Unity plans with Rollover Minutes (including the formation of a
                                           SM


                 FamilyTalk plan), any accumulated Rollover Minutes in excess of your new non-AT&T Unity
                 plan or the primary non-AT&T Unity FamilyTalk line’s included Anytime Minutes will expire.

                        5.7 Mobile To Mobile Minutes
                 If applicable to your plan, Mobile to Mobile Minutes may be used when directly dialing or
                 receiving calls from any other AT&T wireless phone number from within your calling area.
                 Mobile to Mobile Minutes may not be used for interconnection to other networks. Calls to
                 AT&T voicemail and return calls from voicemail are not included.

                        5.8 FamilyTalk® Plan
                 If applicable to your plan, FamilyTalk may require up to a two-year Service Commitment for
                 each line. FamilyTalk plans include only package minutes included with the primary number,
                 and minutes are shared by the additional lines. The rate shown for additional minutes
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             applies to all minutes in excess of the Anytime Minutes. FamilyTalk requires two lines. If the
             rate plan for the primary number is changed to an ineligible plan or the primary number is
             disconnected, one of the existing additional lines shall become the primary number on the
             rate plan previously subscribed to by the former primary number; if only one line remains, it
             shall be converted to the closest single line rate.

                    5.9 A-List®
             A-List is available only with select Nation, FamilyTalk and Unity plans. Nation Plan and
             Individual Subscribers can place/receive calls to/from up to 5 (and FamilyTalk subscribers
             can place/receive calls to/from up to 10) wireline or wireless telephone numbers without
             being charged for airtime minutes. All qualifying lines on a FamilyTalk account share the
             same 10 A-List numbers. Only standard domestic wireline or wireless numbers may be
             added and A-List is only for domestic calls. Directory assistance, 900 numbers, chat lines,
             pay per call numbers, customer’s own wireless or Voice Mail access numbers, numbers
             for call routing services and call forwarding services from multiple phones, and machine
             to machine numbers are not eligible. Depending on the PBX system, a private telephone
             system often serving businesses, AT&T may not be able to determine if your selected
             PBX A-List number is calling/receiving calls from your wireless number and airtime
             charges could apply. Forwarded calls will be billed based on the originating number, not
             the call forwarding number, and airtime charges may apply. Only voice calling is eligible.
             A-List number selections may only be managed online via MyWireless Account. Selected
             telephone numbers do not become active until 24 hours after added. AT&T reserves the
             right to block any A-List number and to reduce the amount of telephone numbers that can
             be used for A-List without notice. A-List is not eligible on Save/Promotional Plans.

                   5.10 AT&T Viva MexicoSM (“Mexico Plan”) & AT&T Nation®/FamilyTalk® With




                                                                                                                         5.0
                          Canada (“Canada Plan”)
             Certain eligibility requirements apply. Anytime Minutes and Night and Weekend Minutes
             between Mexico and your U.S. wireless coverage area if you subscribe to the Mexico Plan,
             or Canada and your U.S. wireless coverage area if you subscribe to the Canada Plan, will be
             treated for billing purposes as calls to and from your U.S. wireless coverage area.

             Calls made from or received in Mexico and Canada cannot exceed your monthly off-net
             usage allowance (the lesser of 750 min./mo. or 40% of your Anytime Minutes/mo.) in
             any two consecutive months. Calls made from or received in Mexico and Canada will
             not qualify as Mobile to Mobile Minutes. Special rates apply for data usage in Mexico and
             Canada. International long distance text, instant, picture and video messaging rates apply to
             messaging from the U.S. to Mexico and Canada and international roaming rates apply when
             such messages are sent from Mexico and Canada.

             International Roaming charges apply when using voice and data Services outside Mexico
             and your U.S. wireless coverage area if you subscribe to the Mexico Plan, and Canada
             and your U.S. wireless coverage area, if you subscribe to the Canada Plan. International
             long distance charges apply when calling to areas outside Mexico and your U.S. wireless
             coverage area if you subscribe to the Mexico Plan, and Canada and your U.S. wireless
             coverage area if you subscribe to the Canada Plan.

             Anytime Minutes are primarily for live dialog between two people. You may not use your
             Services other than as intended by AT&T and applicable law. Plans are for individual, non-
             commercial use only and are not for resale. Unlimited Microcell Calling feature cannot be
             used on accounts with Viva Mexico and Nation Canada calling plans.

                    5.11 AT&T UnitySM And AT&T UnitySM-FamilyTalk® Plans Requirements

                        5.11.1 Eligibility Requirements: AT&T local and wireless combined bill required.
             For residential customers, qualifying AT&T local plan from AT&T required. For business
             customers, qualifying AT&T local service plan required. Specific AT&T Services that qualify vary
             by location; see att.com or call 1-800-288-2020. Certain business accounts are not eligible
             for Unity plans. Discounts on any other combined-bill wireless plans will be lost if an AT&T
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                 Unity plan is added to your combined bill. If an existing wireless plan is upgraded to an AT&T
                 Unity plan, all discounts and promotions will be lost when subscribing to that plan.

                            5.11.2 AT&T UnitySM Minutes: AT&T Unity Calling Minutes may be used when
                 directly dialing or receiving calls from any other eligible AT&T wireline or wireless phone
                 number from within your calling area. Calls to AT&T voicemail and return calls from
                 voicemail not included. AT&T Unity Minutes are not included when checking usage for the
                 current billing period.

                       5.12 VoiceDial Services
                 Regular airtime charges apply. Mobile to Mobile Minutes do not apply. Calls to 911, 411,
                 611, 711 and international dialing cannot be completed with VoiceDial Services. Caller
                 ID cannot be blocked. Caller ID will be delivered on calls, even if you have permanently
                 blocked your name and number. For complete terms and conditions, see att.com/voicedial.

                        5.13 AT&T Messaging Unlimited with Mobile to Any Mobile Calling Feature
                 Available only with select Nation, FamilyTalk, and BusinessTalk plans and can be
                 discontinued at anytime. Messaging Unlimited Plan required. Mobile to Any Mobile minutes
                 only apply when you directly dial another U.S. mobile number or directly receive a call
                 from another U.S. mobile phone number from within your calling area in the U.S., Puerto
                 Rico, or U.S.V.I. Mobile to Any Mobile is not available with the AT&T Viva Mexico or AT&T
                 Nation/FamilyTalk with Canada plans. Calls made through Voice Connect, calls to directory
                 assistance, and calls to voicemail and return calls from voicemail are not included. Only
                 numbers included in the wireless number database that AT&T uses will be treated as a
                 call to a mobile number or a call received from a mobile number. So for example, Type
                 1 numbers belonging to other carriers and not included in the industry wireless LNP
     5.0




                 database, and numbers for which ports to wireless service have not yet completed, will
                 not be treated as a call to a mobile number or a call received from a mobile number. Also
                 calls made to and calls received from mobile toll-free numbers, mobile chat lines, mobile
                 directory assistance, calling applications, numbers for call routing and call forwarding
                 services, and machine to machine numbers are not included.

                       5.14 Wireless Home Phone Service
                 AT&T Wireless Home Phone service (“WHP Service”) utilizes a wireless gateway which
                 enables your corded or cordless landline telephones to make calls over the AT&T wireless
                 network. WHP Service provides only voice service. To use the WHP Service, you will need
                 to purchase an AT&T Wireless Home Phone device (“WHP Device”) and connect to it your
                 corded or cordless landline telephone equipment (not included). Each WHP Device can be
                 associated with only one (1) phone number. This WHP Device is sold for use on the AT&T
                 wireless network and is not compatible with other wireless networks.

                 One of the following eligible voice plans are required: 1) add a line to your FamilyTalk plan
                 or 2) Wireless Home Phone unlimited plan. If on the FamilyTalk plan, the WHP Service will
                 use your package minutes shared by the lines on the plan. See att.com for more details.
                 The AT&T Wireless Home Phone unlimited rate plan includes inbound and outbound
                 Anytime Minute domestic calls made to the 50 United States, Puerto Rico, U.S. Virgin
                 Islands, Guam and Northern Mariana Islands. See Section 5.4 for additional details on
                 unlimited voice services. International roaming is not enabled. Text messaging and other
                 data services and features are not available with the WHP Service.

                 A new wireless number will be provided if you are not porting an existing wireless or home
                 phone number to the WHP Service. Your WHP Device should be operated in a location
                 where AT&T is authorized to provide wireless service. If your WHP Device is used while on
                 other carrier networks, AT&T’s off-net usage restrictions apply. Please see section 4.5 of
                 your Wireless Customer Agreement or att.com for details.

                 AT&T does not represent that the WHP Service will be equivalent to landline service.
                 Because the WHP Service uses a wireless network, you may experience occasional service
                 limitations inherent to wireless service e.g., dropped calls. AT&T recommends that you place
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             your WHP Device on a hard surface with an unobstructed view of the outdoors in a location in
             the home that has an AT&T wireless signal strength that is acceptable to you.

             911 calls are routed based on the wireless network’s automatic location technology.
             You should expect to provide your home address to the emergency response center
             responsible for sending first responders (e.g. police, medical assistance, or fire) to your
             location.

             While battery backup is provided for your WHP Device, if your WHP Device is connected to
             a landline phone that requires external electric power to operate e.g., cordless phones, WHP
             Service (including the ability to make and receive 911 calls) will not be available during a
             power outage.

             WHP Service is compatible with home answering machines but may not support your fax
             machine, alarm services including medical alert services, dial-up internet service, or credit card
             machines. The WHP Service is not compatible with television services that require you to connect
             telephone service to television equipment such as digital video recorder equipment or on-
             demand movie services.




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             6.0    WHAT DATA AND MESSAGING SERVICES DOES AT&T OFFER?
                   6.1 What Are The General Terms That Apply To All Data And Messaging
                       Plans?
             AT&T provides wireless data and messaging Services, including but not limited to, features
             that may be used with Data Services and wireless content and applications (“Data Services”).
             The absolute capacity of the wireless data network is limited; consequently, Data Services
             may only be used for prescribed purposes. Pricing and data allowances for Data Services are
             device dependent and based on the transmit and receive capacity of each device.

             On Data Services with a monthly megabyte (MB) or gigabyte (GB) data allowance,
             once you exceed your monthly data allowance you will be automatically charged
             for overage as specified in the applicable rate plan. All data allowances, including
             overages, must be used in the billing period in which the allowance is provided.
             Unused data allowances will not roll over to subsequent billing periods.

             AT&T data plans are designed for use with only one of the following distinct device
             types: (1) Smartphones, (2) basic and Quick Messaging phones, (3) tablets, and (4)
             LaptopConnect cards, and (5) stand-alone Mobile Hotspot devices. A data plan
             designated for one type of device may not be used with another type of device. For
             example, a data plan designated for use with a basic phone or a Smartphone may not
             be used with a LaptopConnect card, tablet, or stand-alone Mobile Hotspot device, by
             tethering devices together, by SIM card transfer, or any other means. A data tethering
             plan, however, may be purchased for an additional fee to enable tethering on a
             compatible device. An Activation Fee may apply for each data line.

             Consumer data plans do not allow access to corporate email, company intranet sites, and
             other business applications. Access to corporate email, company intranet sites, and/or
             other business applications requires an applicable Enterprise Data plan. Enterprise Email
             requires an eligible data plan and Device. Terms may vary depending on selected Enterprise
             Email solution.

             AT&T RESERVES THE RIGHT TO TERMINATE YOUR DATA SERVICES WITH OR WITHOUT




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             CAUSE, INCLUDING WITHOUT LIMITATION, UPON EXPIRATION OR TERMINATION OF YOUR
             WIRELESS CUSTOMER AGREEMENT.

                    6.2 What Are The Intended Purposes Of The Wireless Data Service?
             Except as may otherwise be specifically permitted or prohibited for select data plans,
             data sessions may be conducted only for the following purposes: (i) Internet browsing; (ii)
             email; and (iii) intranet access (including access to corporate intranets, email, and individual
             productivity applications like customer relationship management, sales force, and field service
             automation). While most common uses for Internet browsing, email and intranet
             access are permitted by your data plan, there are certain uses that cause extreme
             network capacity issues and interference with the network and are therefore
             prohibited. Examples of prohibited uses include, without limitation, the following:
             (i) server devices or host computer applications, including, but not limited to, Web
             camera posts or broadcasts, automatic data feeds, automated machine-to-machine
             connections or peer-to-peer (P2P) file sharing; (ii) as a substitute or backup for
             private lines, wirelines or full-time or dedicated data connections; (iii) “auto-
             responders,” “cancel-bots,” or similar automated or manual routines which generate
             excessive amounts of net traffic, or which disrupt net user groups or email use by
             others; (iv) “spam” or unsolicited commercial or bulk email (or activities that have
             the effect of facilitating unsolicited commercial email or unsolicited bulk email);
             (v) any activity that adversely affects the ability of other people or systems to use
             either AT&T’s wireless services or other parties’ Internet-based resources, including
             “denial of service” (DoS) attacks against another network host or individual user;
             (vi) accessing, or attempting to access without authority, the accounts of others,
             or to penetrate, or attempt to penetrate, security measures of AT&T’s wireless
             network or another entity’s network or systems; (vii) software or other devices that
             maintain continuous active Internet connections when a computer’s connection
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                 would otherwise be idle or any “keep alive” functions, unless they adhere to AT&T’s
                 data retry requirements, which may be changed from time to time. This means, by
                 way of example only, that checking email, surfing the Internet, downloading legally
                 acquired songs, and/or visiting corporate intranets is permitted, but downloading
                 movies using P2P file sharing services, redirecting television signals for viewing
                 on Personal Computers, web broadcasting, and/or for the operation of servers,
                 telemetry devices and/or Supervisory Control and Data Acquisition devices
                 is prohibited. Furthermore, plans (unless specifically designated for tethering
                 usage) cannot be used for any applications that tether the device (through use of,
                 including without limitation, connection kits, other phone/smartphone to computer
                 accessories, BLUETOOTH® or any other wireless technology) to Personal Computers
                 (including without limitation, laptops), or other equipment for any purpose.
                 Accordingly, AT&T reserves the right to (i) deny, disconnect, modify and/or terminate Service,
                 without notice, to anyone it believes is using the Service in any manner prohibited or whose
                 usage adversely impacts its wireless network or service levels or hinders access to its wireless
                 network, including without limitation, after a significant period of inactivity or after sessions
                 of excessive usage and (ii) otherwise protect its wireless network from harm, compromised
                 capacity or degradation in performance, which may impact legitimate data flows. You may
                 not send solicitations to AT&T’s wireless subscribers without their consent. You may not use
                 the Services other than as intended by AT&T and applicable law. Plans are for individual, non-
                 commercial use only and are not for resale. AT&T may, but is not required to, monitor your
                 compliance, or the compliance of other subscribers, with AT&T’s terms, conditions, or policies.

                       6.3 What Are The Voice And Data Plan Requirements?
                 A voice plan is required on all voice-capable Devices, unless specifically noted otherwise in
                 the terms governing your plan.

                 An eligible tiered pricing data plan is required for certain Devices, including iPhones and
                 other designated Smartphones. Eligible voice and tiered pricing data plans cover voice and
                 data usage in the U.S. and do not cover International voice and data usage and charges. If
                 it is determined that you are using a voice-capable Device without a voice plan, or that you
                 are using an iPhone or designated Smartphone without an eligible voice and tiered data
     6.0




                 plan, AT&T reserves the right to switch you to the required plan or plans and bill you the
                 appropriate monthly fees. In the case of the tiered data plan, you will be placed on the data
                 plan which provides you with the greatest monthly data usage allowance. If you determine
                 that you do not require that much data usage in a month, you may request a lower data
                 tier at a lower monthly recurring fee.

                        6.4 How Does AT&T Calculate My Data Usage/Billing?
                 Data sent and received includes, but is not limited to downloads, email, application
                 usage, overhead and software update checks. Unless designated for International or
                 Canada use, prices and included use apply to access and use on AT&T’s wireless network
                 and the wireless networks of other companies with which AT&T has a contractual
                 relationship within the United States and its territories (Puerto Rico and the U.S. Virgin
                 Islands), excluding areas within the Gulf of Mexico.

                 Usage on networks not owned by AT&T is limited as provided in your data plan. Charges
                 will be based on the location of the site receiving and transmitting service and not the
                 location of the subscriber. Mobile Broadband and 4G access requires a compatible,
                 device.

                 Data Service charges paid in advance for monthly or annual Data Services are
                 nonrefundable. Some Data Services may require an additional monthly subscription fee
                 and/or be subject to additional charges and restrictions. Prices do not include taxes,
                 directory assistance, roaming, universal services fees or other surcharges.

                 In order to assess your usage during an applicable billing period, you may obtain
                 approximate usage information by calling customer service or using one of our
                 automated systems.
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                    6.5 Text, Instant Messaging And Picture/Video Messaging
             If you do not enroll in a monthly recurring plan for messaging, data, or Video Share, you
             may have access to messaging, data, and video share services and be charged on a pay-
             per-use basis if you use those services.

             Messages are limited to 160 characters per message. Premium text and picture/video
             messages are charged at their stated rates. Standard rates apply to all incoming messages
             when in the U.S. Different, non-standard per message charges apply to international
             messages sent from the U.S.

             Text, Instant, Picture, and Video messages are charged when sent or received, whether read
             or unread, solicited or unsolicited. AT&T does not guarantee delivery of messages. Text,
             Instant, Picture, and Video messages, including downloaded content, not delivered within 3
             days will be deleted. AT&T reserves the right to change this delivery period as needed without
             notification.

             You are charged for each part of messages that are delivered to you in multiple parts.
             Picture/Video Messaging, data plan, and Text Messaging may need to be provisioned on an
             account in order to use Picture/Video Messaging. Some elements of Picture/Video messages
             may not be accessible, viewable, or heard due to limitations on certain wireless phones, PCs,
             or e-mail.

             AT&T reserves the right to change the Picture/Video message size limit at any time without
             notification. Picture/Video Messaging pricing is for domestic messages only. When a single
             message is sent to multiple recipients, the sender is charged for one message for each
             recipient and each recipient is charged for the message received.

             Text message notifications may be sent to non-Picture/Video Messaging subscribers if they
             subscribe to Text Messaging. You may receive unsolicited messages from third parties as a
             result of visiting Internet sites, and a per-message charge may apply whether the message is
             read or unread, solicited or unsolicited.




                                                                                                                        6.0
             You agree you will not use our messaging services to send messages that contain advertising
             or a commercial solicitation to any person or entity without their consent. You will have the
             burden of proving consent with clear and convincing evidence if a person or entity complains
             you did not obtain their consent. Consent cannot be evidenced by third party lists you
             purchased or obtained. You further agree you will not use our messaging service to send
             messages that: (a) are bulk messages (b) are automatically generated; (c) can disrupt AT&T’s
             network; (d) harass or threaten another person (e) interfere with another customer’s use or
             enjoyment of AT&T’s Services; (f) generate significant or serious customer complaints, (g) that
             falsify or mask the sender/originator of the message; or (h) violate any law or regulation.
             AT&T reserves the right, but is not obligated, to deny, disconnect, suspend, modify and/or
             terminate your messaging service or messaging services with any associated account(s), or
             to deny, disconnect, suspend, modify and/or terminate the account(s), without notice, as to
             anyone using messaging services in any manner that is prohibited. Our failure to take any
             action in the event of a violation shall not be construed as a waiver of the right to enforce
             such terms, conditions, or policies. Advertising and commercial solicitations do not include
             messaging that: (a) facilitates, completes, or confirms a commercial transaction where the
             recipient of such message has previously agreed to enter into with the sender of such
             message; or (b) provides account information, service or product information, warranty
             information, product recall information, or safety or security information with respect to a
             commercial product or service used or purchased by the recipient of such message.
                    6.6 AT&T My Media CLUB
             Your enrollment gives you the option to receive text messages each week on music trivia,
             news and more. Every 30 days your subscription will be automatically renewed and new
             credits added to your account which can be used to buy ringtones and graphics through
             the MEdia Mall. Music, Voice, Sound Effect Tones, polyphonic ringtones & graphics are 1
             credit. Unused credits expire at the end of each 30 day period. The 30 day period is not

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                 necessarily equivalent to a calendar month end or the billing cycle. You may terminate your
                 subscription at any time by texting the word “STOP” to 7225. Any remaining credits will be
                 available for the remainder of your subscription billing cycle. Savings claim based on price
                 of Music Tones. Ringtone and graphics provided by independent providers.

                        6.7 Mobile Email
                 Requires e-mail account with compatible internet service provider and a downloaded or
                 preloaded e-mail application for the wireless device. Access and use of Mobile Email is
                 billed by total volume of data sent and received (in kilobytes) in accordance with your
                 data plan. E-mail attachments can not be sent, downloaded, read, or forwarded on the
                 mobile device. Only a paper clip icon appears indicating an attachment. You must view
                 attachments from your PC. Upgrades to the application may be required in order to
                 continue to use the Service. Wireless data usage charges will apply for downloading the
                 application and any upgrades.

                       6.8 Mobile Video
                 Compatible Phone and eligible data plan required. Service not available outside AT&T’s
                 Mobile Broadband and 4G coverage areas. Premium content is charged at stated monthly
                 subscription rates or at stated pay per view rates. Content rotates and is subject to
                 withdrawal. Mobile Video is for individual use, not for resale, commercial purposes or public
                 broadcast. Content can only be displayed on the device screen. No content may be captured,
                 downloaded, forwarded, duplicated, stored, or transmitted. The content owner reserves and
                 owns all content rights. All trademarks, service marks, logos, and copyrights not owned by
                 AT&T are the property of their owners. Some Mobile Video content is intended for mature
                 audiences and may be inappropriate for younger viewers. Parental guidance suggested.
                 Use Parental Controls to restrict access to mature content. Content may be provided by
                 independent providers, and AT&T is not responsible for their content. Providers may collect
                 certain information from your use for tracking and managing content usage.

                        6.9 AT&T Wi-Fi Services
                 AT&T Wi-Fi service use with a Wi-Fi capable wireless device is subject
                 to the Terms of Services & Acceptable Use Policy (“Terms”) found at
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                 att.com/attwifitosaup. Your use represents your agreement to those Terms,
                 incorporated herein by reference. AT&T Wi-Fi Basic service is available at no
                 additional charge to wireless customers with select Wi-Fi capable devices and a
                 qualified data rate plan. Other restrictions may apply.

                        6.10 DataConnect Plans
                            6.10.1 What Are the General Terms that Apply to All DataConnect Plans?

                 A voice plan is not required with DataConnect plans.

                 We may, at our discretion, suspend your account if we believe your data usage is excessive,
                 unusual or is better suited to another rate plan. If you are on a data plan that does not
                 include a monthly MB/GB allowance and additional data usage rates, you agree that AT&T
                 has the right to impose additional charges if you use more than 5 GB in a month; provided
                 that, prior to the imposition of any additional charges, AT&T shall provide you with notice
                 and you shall have the right to terminate your Data Service.

                             6.10.2 Data Global Add-On/DataConnect Global Plans/DataConnect
                                      North America Plans
                 Available countries, coverage and participating international carriers included in the
                 “Select International Roam Zone” and “Select Canada/Mexico Roam Zone” vary from our
                 generally available Canada/international wireless data roam zones and may not be as
                 extensive. The Select International Roam Zone is restricted to select international wireless
                 carrier(s). Select Canada/Mexico Roam Zone is restricted to select wireless carrier(s) and
                 coverage areas within Canada and Mexico. See att.com/dataconnectglobal for a current
                 list of participating carriers and eligible roam zones. With respect to the countries included
                 in the Select International Roam Zone, you will be restricted from accessing Data Service
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             through any non-participating Canada/international wireless carriers that may otherwise
             be included in our generally available Canada and international wireless data roam zones.
             With the DataConnect North America Plan, you will be restricted from accessing Data
             Service through any non-participating Canada/Mexico wireless carriers that may otherwise
             be included in our generally available Canada and international wireless data roam zones.

             DATA GLOBAL ADD-ON- May only be used with eligible Equipment. Domestic data usage
             not included. Qualified domestic wireless data plan required. If combined with a wireless
             voice plan that includes international voice roaming, your international wireless voice
             roaming in countries included in the Global Data Add-On’s Select International Roam Zone
             will be limited to the participating Canada/international wireless carriers and you will be
             restricted from voice roaming through any non-participating Canada/international wireless
             carriers that may otherwise be included in our generally available Canada and international
             voice roam zones.

             DATACONNECT GLOBAL/NORTH AMERICA PLANS - Requires minimum one-year Service
             Commitment and you must remain on the plan, for a minimum one-year term. Voice access
             is restricted and prohibited.
                        6.10.3 Pooled DataConnect Plans
             Pooled Data Connect Plans (“Pooled Plans”) available only to customers with a qualified
             AT&T Business Agreement for wireless Services and their respective Corporate Responsibility
             Users (“CRUs”). Consolidated billing is required. WIN Advantage® may also be required.
             Within a single Foundation Account (FAN), Customer’s CRUs on an eligible Pooled Plan
             aggregate or “pool” their included wireless data usage (“Included Usage”), creating a “Pool”.

             To pool together, each CRU in the Pool must subscribe to a Pooled Plan that has the same
             amount of Included Usage and the same Additional Kilobyte charge (“Similar Pooled Plan”).
             Every billing cycle, each CRU first uses his or her Included Usage. If a CRU does not use
             all his or her Included Usage it creates an underage in the amount of unused kilobytes
             (“Under Usage”). If a CRU uses more than his or her Included Usage it creates an overage
             with respect to kilobytes of data usage (“Over Usage”). The Pool’s Under Usage kilobytes
             and Over Usage kilobytes are then aggregated respectively and compared. If the aggregate




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             Under Usage kilobytes exceed the aggregate Over Usage kilobytes, then no CRU in the
             Pool pays Additional Kilobyte charges. If the aggregate Over Usage kilobytes exceeds the
             aggregate Under Usage kilobytes, then the ratio of Under Usage kilobytes to Over Usage
             kilobytes is applied to the data usage of each CRU in the Pool with Overage Usage, resulting
             in a monetary credit against the corresponding Additional Kilobyte charges.

             For example, if a Pool has 900 Under Usage kilobytes and 1000 Over Usage kilobytes (90%),
             then each CRU with Over Usage will receive a credit equal to 90% of his or her Additional
             Kilobyte charges. CRUs changing price points or migrating to Pooled Plans during a bill cycle
             may result in one-time prorations or other minor impacts to the credit calculation. Credits
             will only appear on WIN Advantage®. Customer may have more than one Pool within a
             FAN provided that Customer may only have one Pool for Similar Pooled Plans within a FAN;
             however, an individual CRU can only be in one Pool at a time.

             AT&T reserves the right to limit the number of CRUs in a Pool due to business needs and
             system limitations. CRUs on Pooled Plans and CRUs participating in a legacy Pooled Data
             Connect plan pool created prior to February 17, 2006 (“Legacy Pool”) cannot be in the
             same Pool but can be within the same FAN. End users on non-pooling AT&T plans may be
             included in the same FAN as CRUs on Pooled Plans; however these non-pooling end users
             will not receive the pooling benefits or contribute Included Usage to a Pool.

                    6.11 AT&T DataPlusSM/AT&T DataProSM Plans
                        6.11.1. AT&T Data Plans With Tethering

             Tethering is a wireless or wired method in which your AT&T mobile device is used as a
             modem or router to provide a Internet Access connection to other devices, such as laptops,
                                                                                                                29



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                 netbooks, tablets, smartphones, other phones, USB modems, network routers, mobile
                 hotspots, media players, gaming consoles, and other data-capable devices. AT&T data
                 plans with tethering enabled may be used for tethering your AT&T Mobile device to other
                 devices. If you are on a data plan that does not include a monthly megabyte allowance and
                 additional data usage rates, you agree that AT&T has the right to impose additional charges
                 if you use more than 5 GB in a month; prior to the imposition of any additional charges,
                 AT&T shall provide you with notice and you shall have the right to terminate your Service
                 (early termination charges may apply).

                           6.11.2. BlackBerry® Personal
                 Supports personal email access to up to 10 Internet email accounts. Users storing more
                 than 1,000 emails or email older than 30 days, may have some emails automatically
                 deleted. May not be used to access corporate email such as BlackBerry Enterprise Server.

                            6.11.3. BlackBerry® Connect; BlackBerry® Enterprise;
                                    BlackBerry® International
                 Supports BlackBerry Enterprise Server for corporate access (valid Client Access License
                 required), and personal email access to up to 10 Internet email accounts as per BlackBerry
                 Personal. BlackBerry International requires a minimum one-year agreement.

                       6.12 GOOD Plan
                 Requires compatible Good Server and, as to each end user, a compatible Good Client
                 Access License (CAL) for use with a qualifying AT&T data plan. Solution includes software,
                 products and related services provided by Good Technology, Inc. (“Good”), which are
                 subject to applicable Good terms and conditions. Good is solely responsible for all
                 statements regarding, and technical support for, its software, products and services.

                        6.13 Microsoft® Direct Push
                 Requires compatible Microsoft® Exchange Server and, as to each end user, a compatible
                 device, a Direct Push enabled email account, and a qualifying AT&T Data Plan. Plans include
                 end user customer support from AT&T for compatible devices. AT&T does not sell, supply,
                 install or otherwise support Microsoft® software, products or services (including without
     6.0




                 limitation, Exchange and Direct Push).




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                                 7.0 ARE THERE OTHER TERMS AND CONDITIONS THAT APPLY
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                                    7.0   Are There Other Terms And Conditions That
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             7.0    ARE THERE OTHER TERMS AND CONDITIONS THAT APPLY TO FEATURES
                    AND APPLICATIONS?
             Terms and conditions for certain features and applications are provided on the Device at
             the time of feature/application activation or first use. Certain features/applications will
             not be available in all areas at all times.




                                                                                                                    7.0




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                                       8.0 WHAT IS AT&T ROADSIDE ASSISTANCE &
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                                           8.2   Optional AT&T Mobile Insurance      33




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             8.0    WHAT IS AT&T ROADSIDE ASSISTANCE AND OPTIONAL AT&T MOBILE
                    INSURANCE?
                   8.1 AT&T Roadside Assistance
             AT&T Roadside Assistance (“RA”) is an optional feature that costs $2.99/month per enrolled
             phone and is automatically billed to the wireless account. Customers may cancel at any
             time. New RA customers get the first 30 days for free. To cancel RA without incurring
             charges, contact AT&T by dialing 611 from your wireless phone within the first 30 days. RA
             covers up to four events per year with a maximum benefit of $50/event. Towing services
             are for mechanical problems only. RA service is provided by Asurion Roadside Assistance
             Services, LLC, a licensed motor club. Refer to the RA Welcome Kit for complete terms and
             conditions wireless.att.com/learn/en_US/pdf/roadside_assistance.pdf.

                    8.2 Optional AT&T Mobile Insurance
             Mobile Insurance covers lost, stolen, damaged and out of warranty malfunctions. Enrollment
             must occur within 30 days of an activation or upgrade. Key terms include: 1. A monthly
             premium of $6.99/month per mobile number enrolled. 2. Each approved replacement
             is subject to a $50 (Tier 1), $125 (Tier 2), or a $199 (Tier 3) non-refundable deductible,
             depending on device. 3. Claims are limited to 2 within any consecutive 12 months with a
             maximum device value of $1500 per occurrence. 4. Replacement devices may be new or
             remanufactured and/or a different model. 5. You can cancel your coverage at any time
             and receive a pro-rated refund of your unearned premium. To view enrollment eligibility,
             complete terms and the applicable deductibles, visit www.att.com/mobileinsurance. AT&T
             Mobile Insurance is underwritten by Continental Casualty Company, a CNA company (CNA)
             and administered by Asurion Protection Services, LLC (In California, Asurion Protection
             Services Insurance Agency, LLC, CA Lic. #OD63161. In Puerto Rico, Asurion Protection
             Services of Puerto Rico, Inc.), CNA’s licensed agent for the customers of AT&T. Eligibility
             varies by device. Terms and conditions are subject to change.




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                       9.0 WHAT OTHER TERMS AND CONDITIONS APPLY TO MY WIRELESS SERVICE?




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             9.0    WHAT OTHER TERMS AND CONDITIONS APPLY TO MY WIRELESS SERVICE?
                     9.1 Intellectual Property
             You must respect the intellectual property rights of AT&T, our third-party content providers,
             and any other owner of intellectual property whose protected property may appear on
             any website and/or dialogue box controlled by AT&T or accessed through the AT&T’s
             websites. Except for material in the public domain, all material displayed in association
             with the Service is copyrighted or trademarked. Except for personal, non-commercial use,
             trademarked and copyrighted material may not be copied, downloaded, redistributed,
             modified or otherwise exploited, in whole or in part, without the permission of the owner.
             The RIM and BlackBerry families of related marks, images and symbols are the exclusive
             properties and trademarks or registered trademarks of Research In Motion Limited - used
             by permission. Good, the Good logo and GoodLink are trademarks of Good Technology,
             Inc., in the United States and/or other countries. Good Technology, Inc., and its products
             and services are not related to, sponsored by or affiliated with Research In Motion Limited.
             All other marks contained herein are the property of their respective owners.

             © 2012 AT&T Intellectual Property. All rights reserved. AT&T, AT&T logo and all other marks
             contained herein are trademarks of AT&T Intellectual Property and/or AT&T affiliated
             companies. Apple iPhone: TM and © 2012 Apple Inc. All rights reserved. Apple is a
             trademark of Apple Inc., registered in the U.S. and other countries. iPhone is a trademark of
             Apple Inc.

                    9.2 Severability
             If any provision of this Agreement is found to be unenforceable by a court or agency
             of competent jurisdiction, the remaining provisions will remain in full force and effect.
             The foregoing does not apply to the prohibition against class or representative actions
             that is part of the arbitration clause; if that prohibition is found to be unenforceable, the
             arbitration clause (but only the arbitration clause) shall be null and void.

                    9.3 Assignment; Governing Law; English Language

                       9.3.1 Assignment
             AT&T may assign this Agreement, but you may not assign this Agreement without our prior
             written consent.

                        9.3.2 Governing Law
             The law of the state of your billing address shall govern this Agreement except to the
             extent that such law is preempted by or inconsistent with applicable federal law. In the
             event of a dispute between us, the law of the state of your billing address at the time the
             dispute is commenced, whether in litigation or arbitration, shall govern except to the extent
             that such law is preempted by or inconsistent with applicable federal law.

                        9.3.3 English Language
             The original version of this Agreement is in the English language. Any discrepancy or
             conflicts between the English version and any other language version will be resolved with
             reference to and by interpreting the English version.

                   9.4 Lifeline Services
             As part of a federal government program, AT&T offers discounted wireless service to qualified
             low-income residents in selected states. For questions or to apply for Lifeline service, call
                                                                                                                      9.0




             1-800-377-9450. Puerto Rico customers should contact 1-787-405-5463. For tips on how to
             protect against fraud, please visit the CPUC’s website at, CalPhoneInfo.com.

                    9.5 Trial Services
             Trial Services are subject to the terms and conditions of this Agreement; may have limited
             availability; and may be withdrawn at any time.



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                                 10.0 WHAT TERMS APPLY ONLY TO SPECIFIC STATES?




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             10.0 WHAT TERMS APPLY ONLY TO SPECIFIC STATES?
                    10.1 California: What If There Are Unauthorized Charges Billed To My Device?
             You are not liable for charges you did not authorize, but the fact that a call was
             placed from your Device is evidence that the call was authorized. You may submit
             documents, statements and other information to show any charges were not authorized.
             Unauthorized charges may include calls made to or from your phone or other Device
             after it was lost or stolen.

             If you notify us of any charges on your bill you claim are unauthorized, we will
             investigate. We will advise you of the result of our investigation within 30 days. If you do
             not agree with the outcome, you may file a complaint with the California Public Utilities
             Commission and you may have other legal rights. While an investigation is underway, you
             do not have to pay any charges you dispute or associated late charges, and we will not
             send the disputed amount to collection or file an adverse credit report about it.

                    10.2 Connecticut: Questions About Your Service
             If you have any questions or concerns about your AT&T Service, please call Customer Care
             at 1-800-331-0500, dial 611 from your wireless phone, or visit att.com/wireless. If you
             have questions about the Unlimited Local or Unlimited Long Distance Service, please call
             1-800-288-2020 or visit att.com. If you are a Connecticut customer and we cannot resolve
             your issue, you have the option of contacting the Department of Public Utility Control
             (DPUC). Online: state.ct.us/dpuc; Phone: 1-866-381-2355; Mail: Connecticut DPUC, 10
             Franklin Square, New Britain, CT 06051.

                   10.3 Puerto Rico
             If you are a Puerto Rico customer and we cannot resolve your issue, you may notify
             the Telecommunications Regulatory Board of Puerto Rico of your grievance. Mail:
             500 Ave Roberto H. Todd, (Parada 18), San Juan, Puerto Rico 00907-3941; Phone:
             1-787-756-0804 or 1-866-578-5500; Online: jrtpr.gobierno.pr, in addition to using
             binding arbitration or small claims court to resolve your dispute.




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                                     enterprise customers:
                                     additional service and
                                    equipment-related terms




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             ENTERPRISE CUSTOMERS: ADDITIONAL SERVICE AND EQUIPMENT RELATED TERMS
             “AT&T” or “we,” “us” or “our” refers to AT&T Mobility LLC, acting on behalf of its FCC-licensed




                                                                                                                         1.0
             affiliates doing business as AT&T. “You” or “your”, “my” or “I” refers to the person or entity
             that is the customer of record and/or its Corporate Responsibility Users (“CRUs”), as
             appropriate.

             PLEASE READ THESE TERMS OF SERVICE CAREFULLY TO ENSURE THAT YOU
             UNDERSTAND EACH PROVISION, INCLUDING OUR USE OF YOUR LOCATION
             INFORMATION (SEE SECTION 1.6).

             This document, including the AT&T Privacy Policy Located at att.com/privacy, the terms
             of service for wireless products, features, applications, and services (“Services”) not
             otherwise described herein that are posted on applicable AT&T websites or devices or
             contained in AT&T printed materials, and any documents expressly referred to herein or
             therein, constitute “Sales Information” under your service agreement with us (“Enterprise
             Agreement”) and are incorporated by reference therein.

             1.0 TERMS RELATING TO YOUR DEVICE AND CONTENT
                   1.1 My Device
             You are responsible for all phones and other devices containing a SIM assigned to
             your account (“Devices”). Your Device must be compatible with, and not interfere with,
             our Services and must comply with all applicable laws, rules, and regulations. We may
             periodically program your Device remotely with system settings for roaming service, to
             direct your Device to use network services most appropriate for your typical usage, and
             other features that cannot be changed manually.

             Devices purchased for use on AT&T’s system are designed for use exclusively on AT&T’s
             system. You agree that you won’t make any modifications to such Device or programming
             to enable such Device to operate on any other system. AT&T may, at its sole and absolute
             discretion, modify the programming to enable the operation of such Device on other systems.

             You are solely responsible for complying with U.S. Export Control laws and regulations and
             the import laws and regulations of foreign countries when traveling internationally with
             your Device.

                    1.2 Where and How Does AT&T Service Work?
             AT&T does not guarantee availability of wireless network. Services may be subject to
             certain Device and compatibility/limitations including memory, storage, network availability,
             coverage, accessibility and data conversion limitations. Services (including without
             limitation, eligibility requirements, plans, pricing, features and/or service areas) are subject
             to change without notice.

             When outside AT&T’s coverage area, access will be limited to information and applications
             previously downloaded to or resident on your device. Coverage areas vary between
             AT&T network technologies. See coverage map(s), available at store or from your sales
             representative, for details or the coverage map at www.att.com/coverage-viewer.

             Actual network speeds depend upon device characteristics, network, network availability
             and coverage levels, tasks, file characteristics, applications and other factors. Performance
             may be impacted by transmission limitations, terrain, in-building/in-vehicle use and
             capacity constraints.

                   1.3 What Information, Content, And Applications Are Provided By Third
                        Parties?
             Certain information, applications, or other content is provided by independently owned
             and operated content providers or service providers who are subject to change at any time
             without notice.

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                 AT&T IS NOT A PUBLISHER OF THIRD-PARTY INFORMATION, APPLICATIONS, OR OTHER
                 CONTENT AND IS NOT RESPONSIBLE FOR ANY OPINIONS, ADVICE, STATEMENTS, OR OTHER
                 INFORMATION, SERVICES OR GOODS PROVIDED BY THIRD PARTIES.
     1.0


                 Third-party content or service providers may impose additional charges. Policies regarding
                 intellectual property, privacy and other policies or terms of use may differ among AT&T’s
                 content or service providers and you are bound by such policies or terms when you visit
                 their respective sites or use their services. It is your responsibility to read the rules or
                 service agreements of each content provider or service provider.

                 Any information you involuntarily or voluntarily provide to third parties is governed by
                 their policies or terms. The accuracy, appropriateness, content, completeness, timeliness,
                 usefulness, security, safety, merchantability, fitness for a particular purpose, transmission or
                 correct sequencing of any application, information or downloaded data is not guaranteed
                 or warranted by AT&T or any content providers or other third party. Delays or omissions
                 may occur. Neither AT&T nor its content providers, service providers or other third parties
                 shall be liable to you for any loss or injury arising out of or caused, in whole or in part, by
                 your use of any information, application or content, or any information, application, or other
                 content acquired through the Service.

                 You acknowledge that every business or personal decision, to some degree or another,
                 represents an assumption of risk, and that neither AT&T nor its content and service
                 providers or suppliers, in providing information, applications or other content or services,
                 or access to information, applications, or other content underwrites, can underwrite, or
                 assumes your risk in any manner whatsoever.

                        1.4 How Can I Get Mobile Content?
                 You understand that Devices can be used to acquire or purchase goods, content, and services
                 (including subscription plans) like ring tones, graphics, games, applications and news alerts
                 from AT&T or other companies (“Content”). You understand that you are responsible for all
                 authorized charges associated with such Content from any Device assigned to your account,
                 that these charges will appear on your bill (including charges on behalf of other companies),
                 and that such Purchases can be restricted by using parental controls or similar features
                 available from an AT&T salesperson, or by calling AT&T.

                 Actual Content may vary based on the Device capabilities. Content may be delivered in
                 multiple messages. Content charges are incurred at the stated one-time download rate or
                 subscription rate, plus a per kilobyte or per megabyte default pay per use charge for the
                 Content transport when delivered, unless you have a data plan and such charges appear
                 separately on your bill. You will be charged each time you download Content. Data Service
                 charges apply.

                       1.5 Am I Responsible If Someone Makes A Purchase With My Device?
                 Except as otherwise provided in these terms of service, if your Device is used by others to
                 make Content purchases, you are responsible for all such purchases. If this occurs, you are
                 giving those other users your authority to:

                 1) make Content purchases from those Devices, and to incur charges for those Content
                    purchases that will appear on your bill;
                 2) give consent required for that Content, including the consent to use that user’s location
                    information to deliver customized information to that user’s Device; or
                 3) make any representation required for that Content, including a representation of the
                    user’s age, if requested.

                 Usage by others can be restricted by use of parental controls or similar features. Visit
                 att.com/smartlimits to learn more.




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                    1.6 Can I Use Location-Based Services With My Device?
             AT&T collects information about the approximate location of your Device in relation to our
             cell towers and the Global Positioning System (GPS). We use that information, as well as




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             other usage and performance information also obtained from our network and your Device,
             to provide you with wireless voice and data services, and to maintain and improve our
             network and the quality of your wireless experience. We may also use location information
             to create aggregate data from which your personally identifiable information has been
             removed or obscured. Such aggregate data may be used for a variety of purposes such as
             scientific and marketing research and services such as vehicle traffic volume monitoring. It
             is your responsibility to notify users on your account that we may collect and use location
             information from Devices.

             Your Device is also capable of using optional Content at your request or the request of a
             user on your account, offered by AT&T or third parties that make use of a Device’s location
             information (“Location-Based Services”). Please review the terms and conditions and
             the associated privacy policy for each Location-Based Service to learn how the location
             information will be used and protected. For more information on Location-Based Services,
             please visit att.com/privacy.

             Our directory assistance service (411) may use the location of a Device to deliver relevant
             customized 411 information based upon the user’s request for a listing or other 411
             service. By using this directory assistance service, the user is consenting to our use of that
             user’s location information for such purpose. This location information may be disclosed
             to a third party to perform the directory assistance service and for no other purpose. Such
             location information will be retained only as long as is necessary to provide the relevant
             customized 411 information and will be discarded after such use. Please see our privacy
             policy at att.com/privacy for additional details.




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             2.0       TERMS RELATING TO THE USE AND LIMITATIONS OF SERVICE
                    2.1 What Are The Limitations On Service And Liability?
             Additional hardware, software, subscription, credit or debit card, Internet access from your
             compatible PC and/or special network connection may be required and you are solely
             responsible for arranging for or obtaining all such requirements. Some solutions may require
             third party products and/or services, which are subject to any applicable third party terms
             and conditions and may require separate purchase from and/or agreement with the third
             party provider. AT&T is not responsible for any consequential damages caused in any way by




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             the preceding hardware, software or other items/requirements for which you are responsible.

             Not all plans or Services are available for purchase or use in all sales channels, in all
             areas or with all devices. AT&T is not responsible for loss or disclosure of any sensitive
             information you transmit. AT&T’s wireless services are not equivalent to wireline Internet.
             AT&T is not responsible for nonproprietary services or their effects on devices.

             We may, but do not have the obligation to, refuse to transmit any information through the
             Services and may screen and delete information prior to delivery of that information to you.
             There are gaps in service within the Services areas shown on coverage maps, which, by
             their nature, are only approximations of actual coverage.

             WE DO NOT GUARANTEE YOU UNINTERRUPTED SERVICE OR COVERAGE. WE CANNOT
             ASSURE YOU THAT IF YOU PLACE A 911 CALL YOU WILL BE FOUND. AIRTIME AND OTHER
             SERVICE CHARGES APPLY TO ALL CALLS, INCLUDING INVOLUNTARILY TERMINATED CALLS.
             AT&T MAKES NO WARRANTY, EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS
             FOR A PARTICULAR PURPOSE, SUITABILITY, ACCURACY, SECURITY, OR PERFORMANCE
             REGARDING ANY SERVICES, SOFTWARE OR GOODS.

                   2.2 How Can I Use My AT&T Service?
             All use of AT&T’s wireless network and Services is governed by AT&T’s Acceptable Use Policy,
             which can be found at att.com/AcceptableUsePolicy, as determined solely by AT&T. AT&T
             can revise its Acceptable Use Policy at any time without notice by updating this posting.

                   2.3 Who Is Responsible For Security?
             AT&T DOES NOT GUARANTEE SECURITY. Data encryption is available with some, but not all,
             Services sold by AT&T. If you use your device to access company email or information, it is
             your responsibility to ensure your use complies with your company’s internal IT and security
             procedures.

                   2.4 How Can I Use the Software?
             The pre-installed/embedded software, interfaces, documentation, data, and content
             provided on any Device purchased and designed for use exclusively on AT&T’s system
             as may be updated, downloaded, or replaced by feature enhancements, software updates,
             system restore software or data generated or provided subsequently by AT&T (hereinafter
             “Software”) is licensed, not sold, to you by AT&T and/or its licensors/suppliers for use
             only on such Device. Your use of the Software shall comply with its intended purposes
             as determined by us, all applicable laws, and AT&T’s Acceptable Use Policy at
             att.com/AcceptableUsePolicy. For the avoidance of doubt, Software does not include
             any AT&T or third-party software sold separately to you by AT&T.

             You are not permitted to use the Software in any manner not authorized by this License.
             You may not (and you agree not to enable others to) copy, decompile, reverse engineer,
             disassemble, reproduce, attempt to derive the source code of, decrypt, modify, defeat
             protective mechanisms, combine with other software, or create derivative works of the
             Software or any portion thereof. You may not rent, lease, lend, sell, redistribute, transfer or
             sublicense the Software or any portion thereof. You agree the Software contains proprietary
             content and information owned by AT&T and/or its licensors/suppliers.



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                 AT&T and its licensors/suppliers reserve the right to change, suspend, terminate, remove,
                 impose limits on the use or access to, or disable access to, the Software at any time
                 without notice and will have no liability for doing so. You acknowledge AT&T’s Software
                 licensors/suppliers are intended third party beneficiaries of this license, including the
                 indemnification, limitation of liability, disclaimer of warranty provisions found in your
                 Enterprise Agreement.

                        2.5 How Can I Use Another Carrier’s Network (Off-Net Usage)?
     2.0




                            2.5.1 Voice
                 If your use of minutes (including unlimited Services) on other carrier networks (“off-
                 net voice usage”) during any two consecutive months exceed your off-net voice usage
                 allowance, AT&T may, at its option, terminate your Services, deny your continued use of
                 other carriers’ coverage or change your plan to one imposing usage charges for off-net
                 voice usage. Your off-net voice usage allowance is equal to the lesser of 750 minutes or
                 40% of the Anytime Minutes included with your plan.

                            2.5.2 Data
                 If your use of the Data Services on other carriers’ wireless networks (“offnet data usage”)
                 during any month exceeds your offnet data usage allowance, AT&T may at its option
                 terminate your access to Data Services, deny your continued use of other carriers’
                 coverage, or change your plan to one imposing usage charges for offnet data usage. Your
                 offnet data usage allowance is equal to the lesser of 24 megabytes or 20% of the kilobytes
                 included with your plan. You may be required to use a Device programmed with AT&T’s
                 preferred roaming database.

                            2.5.3 Messaging
                 If you use messaging services (including unlimited Services) on other carrier networks (“off-
                 net messaging usage”) during any two consecutive months exceed your off-net messaging
                 usage allowance, AT&T may, at its option, terminate your messaging service, deny your
                 continued use of other carriers’ coverage or change your plan to one imposing usage
                 charges for off-net messaging usage. Your off-net messaging usage allowance is equal to
                 the lesser of 3,000 messages or 50% of the messages included with your plan.

                           2.5.4 Notice
                 AT&T will provide notice that it intends to take any of the above actions, and you may
                 terminate the CRU’s service.

                       2.6 How Do I Get Service Outside AT&T’s Wireless Network (Roaming)?
                 Roaming charges for wireless data or voice Services may be charged with some plans
                 when outside AT&T’s wireless network. Services originated or received while outside your
                 plan’s included coverage area are subject to roaming charges. Use of Services when
                 roaming is dependent upon roaming carrier’s support of applicable network technology
                 and functionality. Display on your device will not indicate whether you will incur roaming
                 charges. Check with roaming carriers individually for support and coverage details.

                 Billing for domestic and international roaming usage may be delayed up to three billing
                 cycles due to reporting between carriers. Substantial charges may be incurred if your
                 phone is taken out of the U.S. even if no Services are intentionally used.

                            2.6.1 International Services
                 Certain eligibility restrictions apply which may be based on service tenure, payment history
                 and/or credit. Rates are subject to change. For countries, rates and additional details, see
                 att.com/global.

                          2.6.2 International Roaming
                 Compatible Device required. Your plan may include the capability to make and receive calls
                 while roaming internationally. AT&T, in its sole discretion, may block your ability to use your
                 Device while roaming internationally until eligibility criteria are met. International roaming
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             rates, which vary by country, apply for all calls placed or received while outside the United
             States, Puerto Rico and U.S.V.I. Please consult att.com/global or call 866-246-4852 for
             a list of currently available countries and carriers. All countries may not be available for
             roaming. All carriers within available countries may not be available on certain plans or
             packages. Availability, quality of coverage and services while roaming are not guaranteed.
             When roaming internationally, you will be charged international roaming airtime rates
             including when incoming calls are routed to voicemail, even if no message is left. Taxes are
             additional. If you want to block the ability to make and receive calls or use data functions




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             while roaming internationally, you may request that by calling 1-916-843-4685 (at no
             charge from your wireless phone).

                        2.6.3 International Data
             Many Devices, including iPhone transmit and receive data messages without user
             intervention and can generate unexpected charges when powered “on” outside the United
             States, Puerto Rico and USVI. AT&T may send “alerts” via SMS or email, to notify you of data
             usage. These are courtesy alerts. There is no guarantee you will receive them. They are
             not a guarantee of a particular bill limit. Receipt of Visual Voicemail messages are charged
             at international data pay-per-use rates unless customer has an international data plan, in
             which case receipt of Visual Voicemail messages decrement Kilobytes included in such plan.

                          2.6.4 Data Global Add-Ons and Global Messaging Plans
             Require that domestic data or messaging capability be in place. Rates apply only for
             usage within “roam zone” comprised of select carriers. Within the roam zone, overage rate
             applies if you exceed the MBs allotted for any Data Global Add-On Plan or the messages
             allotted for any Global Messaging Package. International roaming pay-per-use rates apply
             in countries outside the roam zone. See att.com/dataconnectglobal for current roam zone
             list. If you enroll after the beginning date of your billing cycle, the monthly charge and the
             data/message allotment included will be correspondingly reduced per day.

                       2.6.5 Data Connect Global/North America Plans
             Do not include capability to place a voice call and require a 1 year agreement. For specific
             terms regarding international data plans, see Section 4.11.2 below.

                          2.6.6 International Long Distance
             International rates apply for calls made and messages sent from the U.S., Puerto Rico and
             U.S.V.I. to another country. Calling or messaging to some countries may not be available.
             Calls to wireless numbers and numbers for special services, such as Premium Rated
             Services, may cost more than calls to wireline numbers. If a customer calls an overseas
             wireline number and the call is forwarded to a wireless number, the customer will be
             charged for a call terminated to a wireless number. International Long Distance calling rates
             are charged per minute and apply throughout the same footprint in which the customer’s
             airtime package minutes apply.

                        2.6.7 International Long Distance Text, Picture & Video Messaging
             Additional charges apply for premium messages and content. Messages over 300 KBs
             are billed an additional 50¢/message. For a complete list of countries, please visit
             att.com/text2world.

                       2.6.8 Cruise Ship Roaming
             Cruise ship roaming rates apply for calls placed or data used while on the ship.

                        2.6.9 International Miscellaneous:
             Export Restrictions: You are solely responsible for complying with U.S. Export Control laws
             and regulations, and the import laws and regulations of foreign countries when traveling
             internationally with your Device.




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             3.0       WHAT VOICE SERVICES DOES AT&T OFFER?
                    3.1 What Are The General Terms That Apply To All AT&T Voice Rate Plans?
             You may obtain usage information by calling customer service or using one of our
             automated systems. Pricing/Taxes/No Proration: Prices do not include taxes, directory
             assistance, roaming, Universal Service Fees, and other surcharges. Final month’s charges
             are not prorated. Activation Fees: Activation Fee may apply for each new line. Nights
             and Weekends: Nights are 9:00 p.m. to 6:00 a.m. Weekends are 9:00 p.m. Friday to
             6:00 a.m. Monday (based on time of day at the cell site or switch providing your Service).
             Included long distance calls can be made from the 50 United States, Puerto Rico and U.S.
             Virgin Islands to the 50 United States, Puerto Rico, U.S. Virgin Islands, Guam and Northern
             Mariana Islands. Roaming charges do not apply when roaming within the Services area of
             land-based networks of the 50 United States, Puerto Rico and U.S. Virgin Islands. Additional
             charges apply to Services used outside the land borders of the U.S., Puerto Rico and U.S.
             Virgin Islands.




                                                                                                                          3.0
                    3.2 Voicemail
             Unless you subscribe to an Unlimited Voice Plan or are an upstate New York customer
             subscribing to Enhanced Voicemail, airtime charges apply to calls to your voicemail
             service, including calls where the caller does not leave a message, because the call has
             been completed, calls to listen to, send, reply to, or forward messages, or to perform
             other activities with your voicemail service, including calls forwarded from other phones
             to your voicemail service. You are solely responsible for establishing and maintaining
             security passwords to protect against unauthorized use of your voicemail service. For
             information as to the number of voicemail messages you can store, when voicemail
             messages will be deleted, and other voicemail features, see att.com/wirelessvoicemail.
             We reserve the right to change the number of voicemails you can store, the length you
             can store voicemail messages, when we delete voicemail messages, and other voicemail
             features without notice. We may deactivate your voicemail service if you do not initialize
             it within a reasonable period after activation. We will reactivate the service upon your
             request. See att.com/global for information about using voicemail internationally.

                    3.3 Voicemail-To-Text (VMTT)
             AT&T is not responsible, nor liable for: 1) errors in the conversion of or its inability to
             transcribe voicemail messages to text/email; 2) lost or misdirected messages; or, 3) content
             that is unlawful, harmful, threatening, abusive, obscene, tortious, or otherwise objectionable.

             We do not filter, edit or control voice, text, or email messages, or guarantee the security of
             messages. We can interrupt, restrict or terminate VMTT without notice, if your use of VMTT
             adversely impacts AT&T’s network, for example that could occur from abnormal calling
             patterns or an unusually large number of repeated calls and messages; or if your use is
             otherwise abusive, fraudulent, or does not comply with the law.

             You are solely responsible for and will comply with all applicable laws as to the content of
             any text messages or emails you receive from VMTT that you forward or include in a reply to
             any other person. You authorize AT&T or a third party working on AT&T’s behalf to listen to,
             and transcribe all or part of a voicemail message and to convert such voicemail message
             into text/email, and to use voicemail messages and transcriptions to enhance, train and
             improve AT&T’s speech recognition and transcription services, software and equipment.

             Charges for VMTT include the conversion of the voicemail message and the text message
             sent to your wireless device. Additional charges, however, may apply to receiving email on
             your wireless device from VMTT, as well as, replying to or forwarding VMTT messages via
             SMS (text) or email, depending on your plan.

             SMS (text messaging) blocking is incompatible with VMTT. (If you do not have a texting
             plan on your handset, we add a texting pay per use feature when you add VMTT with text
             delivery.) If you are traveling outside the U.S. coverage area, you will incur international data
             charges for emails received from VMTT, as well as, charges for emails you respond to or

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                  forward from VMTT, unless you have an international data plan and the usage falls within
                  the plan’s usage limits.

                  Transcription times cannot be guaranteed. Customers purchasing email delivery are
                  responsible for providing a correct email address and updating the email address when
                  changes to the email account are made.

                  If you choose SMS (text) delivery, VMTT only converts the first 480 characters of a voicemail
                  message into text and you will receive up to three text messages of a transcribed message.
                  The transcription, therefore, may not include the entire voicemail message with SMS
                  delivery. Adding VMTT will create a new voicemail box and all messages and greetings will
                  be deleted from your current voicemail box.

                        3.4 Unlimited Voice Services
      3.0




                  Unlimited voice Services are provided primarily for live dialog between two individuals. If
                  your use of unlimited voice Services for conference calling or call forwarding exceeds 750
                  minutes per month, AT&T may, at its option, terminate your Service or change your plan to
                  one with no unlimited usage components.

                  Unlimited voice Services may not be used for monitoring services, data transmissions,
                  transmission of broadcasts, transmission of recorded material, or other connections
                  which don’t consist of uninterrupted live dialog between two individuals. If AT&T finds that
                  you’re using an unlimited voice Service offering for other than live dialog between two
                  individuals, AT&T may, at its option terminate your Service or change your plan to one with
                  no unlimited usage components. AT&T will provide notice that it intends to take any of the
                  above actions, and you may terminate the CRU’s service.

                        3.5 Caller ID
                  Your caller identification information (such as your name and phone number) may be
                  displayed on the Device or bill of the person receiving your call; technical limitations may,
                  in some circumstances, prevent you from blocking the transmission of caller identification
                  information. Contact customer service for information on blocking the display of your name
                  and number. Caller ID blocking is not available when using Data Services, and your wireless
                  number is transmitted to Internet sites you visit.

                         3.6 Rollover® Minutes
                  If applicable to your plan, Rollover Minutes accumulate and expire through 12 rolling bill
                  periods. Bill Period 1 (activation) unused Anytime Minutes will not carry over. Bill Period 2
                  unused Anytime Minutes will begin to carry over. Rollover Minutes accumulated starting
                  with Bill Period 2 will expire each bill period as they reach a 12-bill-period age. Rollover
                  Minutes will also expire immediately upon default or if customer changes to a non-
                  Rollover plan. If you change plans (including the formation of a FamilyTalk plan), or if an
                  existing subscriber joins your existing FamilyTalk plan, any accumulated Rollover Minutes
                  in excess of your new plan or the primary FamilyTalk line’s included Anytime Minutes will
                  expire. Rollover Minutes are not redeemable for cash or credit and are not transferable. If
                  you change to non-AT&T Unity plans with Rollover Minutes (including the formation of a
                  FamilyTalk plan) any accumulated Rollover Minutes in excess of your new non-AT&T Unity
                  plan or the primary non-AT&T Unity FamilyTalk line’s included Anytime Minutes will expire.

                         3.7 Mobile To Mobile Minutes
                  If applicable to your plan, Mobile to Mobile Minutes may be used when directly dialing or
                  receiving calls from any other AT&T wireless phone number from within your calling area.
                  Mobile to Mobile Minutes may not be used for interconnection to other networks. Calls to
                  AT&T voicemail and return calls from voicemail are not included.

                         3.8 FamilyTalk® Plan
                  If applicable to your plan, FamilyTalk may require up to a two-year Service Commitment for
                  each line. FamilyTalk plans include only package minutes included with the primary number,
                  and minutes are shared by the additional lines. The rate shown for additional minutes
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             applies to all minutes in excess of the Anytime Minutes. FamilyTalk requires two lines. If the
             rate plan for the primary number is changed to an ineligible plan or the primary number is
             disconnected, one of the existing additional lines shall become the primary number on the
             rate plan previously subscribed to by the former primary number; if only one line remains, it
             shall be converted to the closest single line rate.

                    3.9 A-List® for Business
             A-List for Business is an optional feature available only to CRUs with qualified plans
             (including, without limitation, Nation Plans $59.99 a month or higher and select business
             pooled plans $89.99 a month or higher, such as BusinessTalk.) Eligible CRUs can place/
             receive calls to/from up to 10 wireline or wireless telephone numbers without being
             charged for airtime minutes. All qualifying lines on a group account share the same 10
             A-List numbers. Only qualified, standard domestic wireline or wireless numbers may be
             added to your A-List. A-List for Business is only for domestic calls. Certain wireline numbers




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             that are included in private numbering plans for purposes of fixed-mobile convergence
             solutions are not eligible for A-List for Business. Directory assistance, 900 numbers, your
             wireless or voicemail access numbers, numbers for call routing services and call forwarding
             services from multiple phones, and machine-to-machine numbers are not eligible.
             Depending on your PBX system, AT&T may not be able to determine if your selected PBX
             A-List number is calling/receiving calls from your wireless account and airtime charges
             may apply. Forwarded calls will be billed based on the originating number, not the call
             forwarding number, and airtime charges may apply. Only voice calling is eligible. A-List
             number selections may only be managed online via Premier Online Care. Selected
             telephone numbers do not become active until 24 hours after being added. AT&T reserves
             the right to block any A-List number and to reduce the amount of telephone numbers that
             can be used for A-List without notice.

                   3.10 AT&T Viva MexicoSM (“Mexico Plan”) & AT&T Nation®/FamilyTalk® With
                          Canada (“Canada Plan”)
             Certain eligibility requirements apply. Anytime Minutes and Night and Weekend Minutes
             between Mexico and your U.S. wireless coverage area if you subscribe to the Mexico Plan,
             or Canada and your U.S. wireless coverage area if you subscribe to the Canada Plan, will be
             treated for billing purposes as calls to and from your U.S. wireless coverage area.

             Calls made from or received in Mexico and Canada cannot exceed your monthly off-net
             usage allowance (the lesser of 750 min./mo. or 40% of your Anytime Minutes/mo.) in
             any two consecutive months. Calls made from or received in Mexico and Canada will
             not qualify as Mobile to Mobile Minutes. Special rates apply for data usage in Mexico and
             Canada. International long distance text, instant, picture and video messaging rates apply to
             messaging from the U.S. to Mexico and Canada and international roaming rates apply when
             such messages are sent from Mexico and Canada.

             International Roaming charges apply when using voice and data Services outside Mexico
             and your U.S. wireless coverage area if you subscribe to the Mexico Plan, and Canada
             and your U.S. wireless coverage area, if you subscribe to the Canada Plan. International
             long distance charges apply when calling to areas outside Mexico and your U.S. wireless
             coverage area if you subscribe to the Mexico Plan, and Canada and your U.S. wireless
             coverage area if you subscribe to the Canada Plan.

             Anytime Minutes are primarily for live dialog between two people. You may not use your
             Services other than as intended by AT&T and applicable law. Plans are for individual, non-
             commercial use only and are not for resale.

                       3.11 AT&T UnitySM And AT&T UnitySM-FamilyTalk® Plans Requirements

                        3.11.1 Eligibility Requirements: AT&T local and wireless combined bill required.
             For residential customers, qualifying AT&T local plan from AT&T required. For business
             customers, qualifying AT&T local service plan required. Specific AT&T Services that qualify
             vary by location; see att.com or call 1-800-288-2020. Certain business accounts are not
             ABSv4.0                                                                                             49



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                  eligible for Unity plans. Discounts on any other combined-bill wireless plans will be lost if an
                  AT&T Unity plan is added to your combined bill. If an existing wireless plan is upgraded to an
                  AT&T Unity plan, all discounts and promotions will be lost when subscribing to that plan.

                             3.11.2 AT&T UnitySM Minutes: AT&T Unity Calling Minutes may be used when
                  directly dialing or receiving calls from any other eligible AT&T wireline or wireless phone
                  number from within your calling area. Calls to AT&T voicemail and return calls from
                  voicemail not included. AT&T Unity Minutes are not included when checking usage for the
                  current billing period.

                        3.12 VoiceDial Services
                  Regular airtime charges apply. Mobile to Mobile Minutes do not apply. Calls to 911, 411,
                  611, 711 and international dialing cannot be completed with VoiceDial Services. Caller
                  ID cannot be blocked. Caller ID will be delivered on calls, even if you have permanently
      3.0




                  blocked your name and number. For complete terms and conditions, see att.com/voicedial.

                         3.13 AT&T Messaging Unlimited with Mobile to Any Mobile Calling Feature
                  Available only with select Nation, FamilyTalk, and BusinessTalk plans and can be
                  discontinued at anytime. Messaging Unlimited Plan required. Mobile to Any Mobile minutes
                  only apply when you directly dial another U.S. mobile number or directly receive a call
                  from another U.S. mobile phone number from within your calling area in the U.S., Puerto
                  Rico, or U.S.V.I. Mobile to Any Mobile is not available with the AT&T Viva Mexico or AT&T
                  Nation/FamilyTalk with Canada plans. Calls made through Voice Connect, calls to directory
                  assistance, and calls to voicemail and return calls from voicemail are not included. Only
                  numbers included in the wireless number database that AT&T uses will be treated as a
                  call to a mobile number or a call received from a mobile number. So for example, Type
                  1 numbers belonging to other carriers and not included in the industry wireless LNP
                  database, and numbers for which ports to wireless service have not yet completed, will
                  not be treated as a call to a mobile number or a call received from a mobile number. Also
                  calls made to and calls received from mobile toll-free numbers, mobile chat lines, mobile
                  directory assistance, calling applications, numbers for call routing and call forwarding
                  services, and machine to machine numbers are not included.




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             4.0       WHAT DATA AND MESSAGING SERVICES DOES AT&T OFFER?
                   4.1 What Are the General Terms That Apply to All Data and Messaging
                        Plans?
              AT&T provides wireless data and messaging Services, including but not limited to, features
             that may be used with Data Services and wireless content and applications (“Data Services”).
             The absolute capacity of the wireless data network is limited; consequently Data Services
             may only be used for prescribed purposes. Pricing and data allowances for Data Services
             are device dependent and based on the transmit and receive capacity of each device.

             On Data Services with a monthly megabyte (MB) or gigabyte (GB) data allowance,
             once you exceed your monthly data allowance you will be automatically charged
             for overage as specified in the applicable rate plan. All data allowances, including
             overages, must be used in the billing period in which the allowance is provided.
             Unused data allowances will not roll over to subsequent billing periods.

             AT&T data plans are designed for use with only one of the following distinct device types:
             (1) Smartphones, (2) basic and Quick Messaging phones, (3) tablets, and (4) LaptopConnect
             cards, and (5) stand-alone Mobile Hotspot devices. A data plan designated for one type of
             device may not be used with another type of device. For example, a data plan designated
             for use with a basic phone or a Smartphone may not be used with a LaptopConnect card,




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             tablet, or stand-alone Mobile Hotspot device, by tethering devices together, by SIM card
             transfer, or any other means. A data tethering plan, however, may be purchased for an
             additional fee to enable tethering on a compatible device. An Activation Fee may apply for
             each data line.

             Consumer data plans do not allow access to corporate email, company intranet sites, and other
             business applications. Access to corporate email, company intranet sites, and/or other business
             applications requires an applicable Enterprise Data plan. Enterprise Email requires an eligible
             data plan and Device. Terms may vary depending on selected Enterprise Email solution.

             AT&T RESERVES THE RIGHT TO TERMINATE YOUR DATA SERVICES WITH OR WITHOUT
             CAUSE, INCLUDING WITHOUT LIMITATION, UPON EXPIRATION OR TERMINATION OF YOUR
             ENTERPRISE AGREEMENT.

                    4.2 What Are The Intended Purposes Of The Wireless Data Service?
             Except as may otherwise be specifically permitted or prohibited for select data plans,
             data sessions may be conducted only for the following purposes: (i) Internet browsing;
             (ii) email; and (iii) intranet access (including access to corporate intranets, email, and
             individual productivity applications like customer relationship management, sales force,
             and field service automation). While most common uses for internet browsing, email
             and intranet access are permitted by your data plan, there are certain uses that
             cause extreme network capacity issues and interference with the network and
             are therefore prohibited. Examples of prohibited uses include, without limitation,
             the following: (i) server devices or host computer applications, including, but not
             limited to, Web camera posts or broadcasts, automatic data feeds, automated
             machine-to-machine connections or peer-to-peer (P2P) file sharing; (ii) as a
             substitute or backup for private lines, wirelines or full-time or dedicated data
             connections; (iii) “auto-responders,” “cancel-bots,” or similar automated or
             manual routines which generate excessive amounts of net traffic, or which disrupt
             net user groups or email use by others; (iv) “spam” or unsolicited commercial or
             bulk email (or activities that have the effect of facilitating unsolicited commercial
             email or unsolicited bulk email); (v) any activity that adversely affects the ability
             of other people or systems to use either AT&T’s wireless services or other parties’
             Internet-based resources, including “denial of service” (DoS) attacks against
             another network host or individual user; (vi) accessing, or attempting to access
             without authority, the accounts of others, or to penetrate, or attempt to penetrate,
             security measures of AT&T’s wireless network or another entity’s network or
             systems; (vii) software or other devices that maintain continuous active Internet
             connections when a computer’s connection would otherwise be idle or any “keep
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                  alive” functions, unless they adhere to AT&T’s data retry requirements, which
                  may be changed from time to time. This means, by way of example only, that
                  checking email, surfing the Internet, downloading legally acquired songs, and/or
                  visiting corporate intranets is permitted, but downloading movies using P2P file
                  sharing services, redirecting television signals for viewing on Personal Computers,
                  web broadcasting, and/or for the operation of servers, telemetry devices and/
                  or Supervisory Control and Data Acquisition devices is prohibited. Furthermore,
                  plans (unless specifically designated for tethering usage) cannot be used for any
                  applications that tether the device (through use of, including without limitation,
                  connection kits, other phone/smartphone to computer accessories, BLUETOOTH®
                  or any other wireless technology) to Personal Computers (including without
                  limitation, laptops), or other equipment for any purpose. Accordingly, AT&T reserves
                  the right to (i) deny, disconnect, modify and/or terminate Service, without notice, to anyone
                  it believes is using the Service in any manner prohibited or whose usage adversely impacts
                  its wireless network or service levels or hinders access to its wireless network, including
                  without limitation, after a significant period of inactivity or after sessions of excessive
                  usage and (ii) otherwise protect its wireless network from harm, compromised capacity
                  or degradation in performance, which may impact legitimate data flows. You may not
                  send solicitations to AT&T’s wireless subscribers without their consent. You may not use
                  the Services other than as intended by AT&T and applicable law. Plans are for individual,
      4.0




                  non-commercial use only and are not for resale. AT&T may, but is not required to, monitor
                  your compliance, or the compliance of other subscribers, with AT&T’s terms, conditions, or
                  policies.

                        4.3 What Are The Voice And Data Plan Requirements?
                  A voice plan is required on all voice-capable Devices, unless specifically noted otherwise in
                  the terms governing your plan.

                  An eligible tiered pricing data plan is required for certain Devices, including iPhones and
                  other designated Smartphones. Eligible voice and tiered pricing data plans cover voice and
                  data usage in the U.S. and do not cover International voice and data usage and charges. If
                  it is determined that you are using a voice-capable Device without a voice plan, or that you
                  are using an iPhone or designated Smartphone without an eligible voice and tiered data
                  plan, AT&T reserves the right to switch you to the required plan or plans and bill you the
                  appropriate monthly fees. In the case of the tiered data plan, you will be placed on the data
                  plan which provides you with the greatest monthly data usage allowance. If you determine
                  that you do not require that much data usage in a month, you may request a lower data
                  tier at a lower monthly recurring fee.

                         4.4 How Does AT&T Calculate My Data Usage/Billing?
                  Data sent and received includes, but is not limited to downloads, email, application
                  usage, overhead and software update checks. Unless designated for International or
                  Canada use, prices and included use apply to access and use on AT&T’s wireless network
                  and the wireless networks of other companies with which AT&T has a contractual
                  relationship within the United States and its territories (Puerto Rico and the U.S. Virgin
                  Islands), excluding areas within the Gulf of Mexico.

                  Usage on networks not owned by AT&T is limited as provided in your data plan. Charges
                  will be based on the location of the site receiving and transmitting service and not the
                  location of the subscriber. Mobile Broadband and 4G access requires a compatible device.

                  Data Service charges paid in advance for monthly or annual Data Services are
                  nonrefundable. Some Data Services may require an additional monthly subscription fee
                  and/or be subject to additional charges and restrictions. Prices do not include taxes,
                  directory assistance, roaming, universal services fees or other surcharges.

                  In order to assess your usage during an applicable billing period, you may obtain
                  approximate usage information by calling customer service or using one of our
                  automated systems.

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                    4.5 Text, Instant Messaging And Picture/Video Messaging
             If you do not enroll in a monthly recurring plan for messaging, data, or Video Share, you
             may have access to messaging, data, and video share services and be charged on a pay-
             per-use basis if you use those services.

             Messages are limited to 160 characters per message. Premium text and picture/video
             messages are charged at their stated rates. Standard rates apply to all incoming messages
             when in the U.S. Different, non-standard per message charges apply to international
             messages sent from the U.S.

             Text, Instant, Picture, and Video messages are charged when sent or received, whether read
             or unread, solicited or unsolicited. AT&T does not guarantee delivery of messages. Text,
             Instant, Picture, and Video messages, including downloaded content, not delivered within
             3 days will be deleted. AT&T reserves the right to change this delivery period as needed
             without notification.

             You are charged for each part of messages that are delivered to you in multiple parts.
             Picture/Video Messaging, data plan, and Text Messaging may need to be provisioned on
             an account in order to use Picture/Video Messaging. Some elements of Picture/Video
             messages may not be accessible, viewable, or heard due to limitations on certain wireless
             phones, PCs, or e-mail.




                                                                                                                      4.0
             AT&T reserves the right to change the Picture/Video message size limit at any time without
             notification. Picture/Video Messaging pricing is for domestic messages only. When a single
             message is sent to multiple recipients, the sender is charged for one message for each
             recipient and each recipient is charged for the message received.

             Text message notifications may be sent to non-Picture/Video Messaging subscribers if they
             subscribe to Text Messaging. You may receive unsolicited messages from third parties as a
             result of visiting Internet sites, and a per-message charge may apply whether the message
             is read or unread, solicited or unsolicited.

             You agree you will not use our messaging services to send messages that contain
             advertising or a commercial solicitation to any person or entity without their consent. You
             will have the burden of proving consent with clear and convincing evidence if a person or
             entity complains you did not obtain their consent. Consent cannot be evidenced by third
             party lists you purchased or obtained. You further agree you will not use our messaging
             service to send messages that: (a) are bulk messages (b) are automatically generated; (c)
             can disrupt AT&T’s network; (d) harass or threaten another person (e) interfere with another
             customer’s use or enjoyment of AT&T’s Services; (f) generate significant or serious customer
             complaints, (g) that falsify or mask the sender/originator of the message; or (h) violate
             any law or regulation. AT&T reserves the right, but is not obligated, to deny, disconnect,
             suspend, modify and/or terminate your messaging service or messaging services with
             any associated account(s), or to deny, disconnect, suspend, modify and/or terminate the
             account(s), without notice, as to anyone using messaging services in any manner that is
             prohibited. Our failure to take any action in the event of a violation shall not be construed
             as a waiver of the right to enforce such terms, conditions, or policies. Advertising and
             commercial solicitations do not include messaging that: (a) facilitates, completes, or
             confirms a commercial transaction where the recipient of such message has previously
             agreed to enter into with the sender of such message; or (b) provides account information,
             service or product information, warranty information, product recall information, or safety
             or security information with respect to a commercial product or service used or purchased
             by the recipient of such message.

                    4.6 AT&T My Media CLUB
             Your enrollment gives you the option to receive text messages each week on music trivia,
             news and more. Every 30 days your subscription will be automatically renewed and new
             credits added to your account which can be used to buy ringtones and graphics through
             the MEdia Mall. Music, Voice, Sound Effect Tones, polyphonic ringtones & graphics are 1
             credit. Unused credits expire at the end of each 30 day period. The 30 day period is not
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                  necessarily equivalent to a calendar month end or the billing cycle. You may terminate your
                  subscription at any time by texting the word “STOP” to 7225. Any remaining credits will be
                  available for the remainder of your subscription billing cycle. Savings claim based on price
                  of Music Tones. Ringtone and graphics provided by independent providers.

                         4.7 Mobile Email
                  Requires e-mail account with compatible internet service provider and a downloaded or
                  preloaded e-mail application for the wireless device. Access and use of Mobile Email is
                  billed by total volume of data sent and received (in kilobytes) in accordance with your
                  data plan. E-mail attachments can not be sent, downloaded, read, or forwarded on the
                  mobile device. Only a paper clip icon appears indicating an attachment. You must view
                  attachments from your PC. Upgrades to the application may be required in order to
                  continue to use the Service. Wireless data usage charges will apply for downloading the
                  application and any upgrades.

                        4.8 Mobile Video
                  Compatible Phone and eligible data plan required. Service is not available outside
                  AT&T’s Mobile Broadband and 4G coverage area. Premium content is charged at stated
                  monthly subscription rates or at stated pay per view rates. Content rotates and is subject
                  to withdrawal. Mobile Video is for individual use, not for resale, commercial purposes or
                  public broadcast. Content can only be displayed on the device screen. No content may be
      4.0




                  captured, downloaded, forwarded, duplicated, stored, or transmitted. The content owner
                  reserves and owns all content rights. All trademarks, service marks, logos, and copyrights
                  not owned by AT&T are the property of their owners. Some Mobile Video content is intended
                  for mature audiences and may be inappropriate for younger viewers. Parental guidance
                  suggested. Use Parental Controls to restrict access to mature content. Content may be
                  provided by independent providers, and AT&T is not responsible for their content. Providers
                  may collect certain information from your use for tracking and managing content usage.

                        4.9 AT&T Wi-Fi Services
                  AT&T Wi-Fi service use with a Wi-Fi capable wireless device is subject to the Terms
                  of Services & Acceptable Use Policy (“Terms”) found at att.com/attwifitosaup. Your
                  use represents your agreement to those Terms, incorporated herein by reference.
                  AT&T Wi-Fi Basic service is available at no additional charge to wireless customers with
                  select Wi-Fi capable devices and a qualified data rate plan. Other restrictions may apply.

                         4.10 DataConnect Plans

                            4.10.1 What Are the General Terms that Apply to All DataConnect Plans?
                  A voice plan is not required with DataConnect plans.

                  We may, at our discretion, suspend your account if we believe your data usage is excessive,
                  unusual or is better suited to another rate plan. If you are on a data plan that does not
                  include a monthly MB/GB allowance and additional data usage rates, you agree that AT&T
                  has the right to impose additional charges if you use more than 5 GB in a month; provided
                  that, prior to the imposition of any additional charges, AT&T shall provide you with notice
                  and you shall have the right to terminate your Data Service.

                              4.10.2 Data Global Add-On/DataConnect Global Plans/DataConnect
                                       North America Plans
                  Available countries, coverage and participating international carriers included in the
                  “Select International Roam Zone” and “Select Canada/Mexico Roam Zone” vary from our
                  generally available Canada/international wireless data roam zones and may not be as
                  extensive. The Select International Roam Zone is restricted to select international wireless
                  carrier(s). Select Canada/Mexico Roam Zone is restricted to select wireless carrier(s) and
                  coverage areas within Canada and Mexico. See att.com/dataconnectglobal for a current
                  list of participating carriers and eligible roam zones. With respect to the countries included
                  in the Select International Roam Zone, you will be restricted from accessing Data Service
                  through any non-participating Canada/international wireless carriers that may otherwise
                  be included in our generally available Canada and international wireless data roam zones.
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             With the DataConnect North America Plan, you will be restricted from accessing Data
             Service through any non-participating Canada/Mexico wireless carriers that may otherwise
             be included in our generally available Canada and international wireless data roam zones.

             DATA GLOBAL ADD-ON- May only be used with eligible Devices. Domestic data usage
             not included. Qualified domestic wireless data plan required. If combined with a wireless
             voice plan that includes international voice roaming, your international wireless voice
             roaming in countries included in the Global Data Add-On’s Select International Roam
             Zone will be limited to the participating Canada/international wireless carriers and you
             will be restricted from voice roaming through any non-participating Canada/international
             wireless carriers that may otherwise be included in our generally available Canada and
             international voice roam zones.

             DATACONNECT GLOBAL/NORTH AMERICA PLANS - Requires minimum one-year Service
             Commitment and you must remain on the plan, for a minimum one-year term. Voice
             access is restricted and prohibited.

                        4.10.3 Pooled DataConnect Plans
             Pooled Data Connect Plans (“Pooled Plans”) are available only to customers with a
             qualified AT&T business agreement for wireless services and their respective CRUs.




                                                                                                                   4.0
             Consolidated billing is required. WIN Advantage® may also be required. Within a single
             Foundation Account (FAN), Customer’s CRUs on an eligible Pooled Plan aggregate or “pool”
             their included wireless data usage (“Included Usage”), creating a “Pool”.

             To pool together, each CRU in the Pool must subscribe to a Pooled Plan that has the same
             amount of Included Usage and the same Additional Kilobyte charge (“Similar Pooled Plan”).
             Every billing cycle, each CRU first uses his or her Included Usage. If a CRU does not use
             all his or her Included Usage it creates an underage in the amount of unused kilobytes
             (“Under Usage”). If a CRU uses more than his or her Included Usage it creates an overage
             with respect to kilobytes of data usage (“Over Usage”). The Pool’s Under Usage kilobytes
             and Over Usage kilobytes are then aggregated respectively and compared. If the aggregate
             Under Usage kilobytes exceed the aggregate Over Usage kilobytes, then no CRU in the
             Pool pays Additional Kilobyte charges. If the aggregate Over Usage kilobytes exceed the
             aggregate Under Usage kilobytes, then the ratio of Under Usage kilobytes to Over Usage
             kilobytes is applied to the data usage of each CRU in the Pool with Overage Usage,
             resulting in a monetary credit against the corresponding Additional Kilobyte charges.

             For example, if a Pool has 900 Under Usage kilobytes and 1000 Over Usage kilobytes
             (90%), then each CRU with Over Usage will receive a credit equal to 90% of his or her
             Additional Kilobyte charges. CRUs changing price points or migrating to Pooled Plans
             during a bill cycle may result in one-time prorations or other minor impacts to the credit
             calculation. Credits will only appear on WIN Advantage®. Customer may have more than
             one Pool within a FAN provided that Customer may only have one Pool for Similar Pooled
             Plans within a FAN; however, an individual CRU can only be in one Pool at a time.

             AT&T reserves the right to limit the number of CRUs in a Pool due to business needs and
             system limitations. CRUs on Pooled Plans and CRUs participating in a legacy Pooled Data
             Connect plan pool created prior to February 17, 2006 (“Legacy Pool”) cannot be in the
             same Pool but can be within the same FAN. End users on non-pooling AT&T plans may be
             included in the same FAN as CRUs on Pooled Plans; however these non-pooling end users
             will not receive the pooling benefits or contribute Included Usage to a Pool.

                       4.11 AT&T DataPlusSM/AT&T DataProSM Plans
                       4.11.1 AT&T Data Plans With Tethering
             Tethering is a wireless or wired method in which your AT&T mobile device is used as a
             modem or router to provide a Internet Access connection to other devices, such as laptops,
             netbooks, tablets, smartphones, other phones, USB modems, network routers, mobile
             hotspots, media players, gaming consoles, and other data-capable devices. AT&T data
             plans with tethering enabled may be used for tethering your AT&T Mobile device to other
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                  devices. If you are on a data plan that does not include a monthly megabyte allowance and
                  additional data usage rates, you agree that AT&T has the right to impose additional charges
                  if you use more than 5 GB in a month; prior to the imposition of any additional charges,
                  AT&T shall provide you with notice and you shall have the right to terminate your Service
                  (early termination charges may apply).

                            4.11.2 BlackBerry® Personal
                  Supports personal email access to up to 10 Internet email accounts. Users storing more
                  than 1,000 emails or email older than 30 days, may have some emails automatically
                  deleted. May not be used to access corporate email such as BlackBerry Enterprise Server.

                             4.11.3 BlackBerry® Connect; BlackBerry® Enterprise; BlackBerry® International
                  Supports BlackBerry Enterprise Server for corporate access (valid Client Access License
                  required), and personal email access to up to 10 Internet email accounts as per BlackBerry
                  Personal. BlackBerry International requires a minimum one-year agreement.

                        4.12 GOOD Plan
                  Requires compatible Good Server and, as to each end user, a compatible Good Client
                  Access License (CAL) for use with a qualifying AT&T data plan. Solution includes software,
                  products and related services provided by Good Technology, Inc. (“Good”), which are
      4.0




                  subject to applicable Good terms and conditions. Good is solely responsible for all
                  statements regarding, and technical support for, its software, products and services.

                         4.13 Microsoft® Direct Push
                  Requires compatible Microsoft® Exchange Server and, as to each end user, a compatible
                  device, a Direct Push enabled email account, and a qualifying AT&T Data Plan. Plans include
                  end user customer support from AT&T for compatible devices. AT&T does not sell, supply,
                  install or otherwise support Microsoft® software, products or services (including without
                  limitation, Exchange and Direct Push).

                        4.14 AT&T Address Book
                  AT&T Address Book is an application that allows users with compatible wireless devices to
                  synchronize contacts between their wireless device and an online address book. Address Book
                  cannot be used for the sending of spam emails, spam messaging, or violation of do not call
                  or automatic dialing laws and regulations, or misrepresentation of a subscriber’s identity. AT&T
                  may establish practices and limits concerning Address Book, including, without limitation, the
                  number of messages that can be sent, limiting the number of message recipients, limiting
                  international text and MMS messaging, the Contact Information and Content that may be
                  archived, the maximum size of available server space for a user’s Contact Information and/
                  or Content, the maximum number of days that Contact Information or Content may be
                  stored, and the maximum number of times and the maximum duration for which a user may
                  access Address Book. “Contact Information” is the personal contact information you include
                  in Address Book. “Content” is information generated or encountered through use of Address
                  Book, such as photographs, images, sounds, videos, messages and other like materials. For
                  complete terms, see: AT&T Address Book at att.com/wirelesslegal.

                         4.15 AT&T Messages
                  AT&T Messages is an application that provides users a single repository, or “inbox”, for text and
                  picture/video messages, visual voicemail messages, voice text messages (audio messages that
                  can be sent and received like text messages) and call logs. Messages and call logs are stored
                  in AT&T Messages on the web. Users must download the AT&T Messages application to their
                  compatible mobile device to use AT&T Messages. They may also access their messages and
                  call logs from compatible tablets or personal computers, or through a Web user interface.
                  Messaging charges apply and data charges may apply. Prior to using AT&T Messages, users
                  should listen to and write down all voicemail messages, as users will be provisioned with a
                  new voicemail box and all existing voicemail greetings and voicemail messages will be deleted.
                  4G and 4G LTE Device users will be charged data for messages that are synchronized between
                  the application on the 4G or 4G LTE Device and AT&T Messages on the web over the wireless
                  network, and for the delivery of voicemail messages and voice text messages to the 4G or 4G
                  LTE Device. For the complete terms, see: att.com/messagesterms.
            56                                                                                               ABSv4.0




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                                 5.0 ARE THERE ADDITIONAL TERMS AND CONDITIONS THAT APPLY
                                       TO OTHER PLANS, FEATURES, PROMOTIONS, APPLICATIONS
                                            AND OFFERS AVAILABLE TO ENTERPRISE CUSTOMERS?



                                    5.0 ARE THERE ADDITIONAL TERMS AND CONDITIONS
                                        THAT APPLY TO OTHER PLANS, FEATURES,
                                        PROMOTIONS, APPLICATIONS AND OFFERS
                                        AVAILABLE TO ENTERPRISE CUSTOMERS?             57




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             5.0       ARE THERE ADDITIONAL TERMS AND CONDITIONS THAT APPLY TO OTHER
                       PLANS, FEATURES, PROMOTIONS, APPLICATIONS AND OFFERS AVAILABLE
                       TO ENTERPRISE CUSTOMERS?
             Terms and conditions for certain features and applications are provided on the Device at
             the time of feature/application activation or first use. Certain features/applications will
             not be available in all areas at all times. In addition, terms and conditions for certain other
             enterprise-only Plans, features, promotions, Supplemental Services and offers are contained
             in the Sales Information for such Plans, features, promotions, Supplemental Services and
             offers and are available to you at the time of purchase.




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                  6.0 WHAT IS AT&T ROADSIDE ASSISTANCE & OPTIONAL AT&T MOBILE INSURANCE?




                       6.1 AT&T Roadside Assistance                                   59

                       6.2 Optional AT&T Mobile Insurance                             59




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             6.0       WHAT IS AT&T ROADSIDE ASSISTANCE & OPTIONAL AT&T MOBILE
                       INSURANCE?
                   6.1 AT&T Roadside Assistance
             AT&T Roadside Assistance (“RA”) is an optional feature that costs $2.99/month per enrolled
             phone and is automatically billed to the wireless account. Customers may cancel at any
             time. New RA customers get the first 30 days for free. To cancel RA without incurring
             charges, contact AT&T by dialing 611 from your wireless phone within the first 30 days. RA
             covers up to four events per year with a maximum benefit of $50/event. Towing services
             are for mechanical problems only. RA service is provided by Asurion Roadside Assistance
             Services, LLC, a licensed motor club. Refer to the RA Welcome Kit for complete terms and
             conditions wireless.att.com/learn/en_US/pdf/roadside assistance.pdf.

                    6.2 Optional AT&T Mobile Insurance
             Mobile Insurance covers lost, stolen, damaged and out of warranty malfunctions. Enrollment
             must occur within 30 days of an activation or upgrade. Key terms include: 1. A monthly
             premium of $6.99/month per mobile number enrolled. 2. Each approved replacement
             is subject to a $50 (Tier 1), $125 (Tier 2), or a $199 (Tier 3) non-refundable deductible,
             depending on device. 3. Claims are limited to 2 within any consecutive 12 months with a
             maximum device value of $1500 per occurrence. 4. Replacement devices may be new or
             remanufactured and/or a different model. 5. You can cancel your coverage at any time
             and receive a pro-rated refund of your unearned premium. To view enrollment eligibility,
             complete terms and the applicable deductibles, visit www.att.com/mobileinsurance. AT&T
             Mobile Insurance is underwritten by Continental Casualty Company, a CNA company (CNA)
             and administered by Asurion Protection Services, LLC (In California, Asurion Protection
             Services Insurance Agency, LLC, CA Lic. #OD63161. In Puerto Rico, Asurion Protection
             Services of Puerto Rico, Inc.), CNA’s licensed agent for the customers of AT&T. Eligibility
             varies by device. Terms and conditions are subject to change.




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                       7.0 WHAT OTHER TERMS AND CONDITIONS APPLY TO MY WIRELESS SERVICE?




                             7.1 Intellectual Property                                61

                             7.2 Trial Services                                       61




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             7.0       WHAT OTHER TERMS AND CONDITIONS APPLY TO MY WIRELESS SERVICE?
                     7.1 Intellectual Property
             You must respect the intellectual property rights of AT&T, our third-party content providers,
             and any other owner of intellectual property whose protected property may appear on
             any website and/or dialogue box controlled by AT&T or accessed through the AT&T’s
             websites. Except for material in the public domain, all material displayed in association
             with the Service is copyrighted or trademarked. Except for personal, non-commercial use,
             trademarked and copyrighted material may not be copied, downloaded, redistributed,
             modified or otherwise exploited, in whole or in part, without the permission of the owner.
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             companies. Apple iPhone: TM and © 2012 Apple Inc. All rights reserved. Apple is a
             trademark of Apple Inc., registered in the U.S. and other countries. iPhone is a trademark of
             Apple Inc.

                    7.2 Trial Services
             Trial Services are subject to the terms and conditions of the Enterprise Agreement and the
             corresponding trial agreement between you and AT&T, if any; may have limited availability;
             and may be withdrawn at any time.




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